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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )     Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,                         )     Case No. 14-10979 (CSS)
                                                              )
                                   Debtors.1                  )     (Jointly Administered)
                                                              )
                                                              )     Hearing Date: To Be Determined
                                                              )     Objection Deadline: May 15, 2018 at 4:00 p.m.
                                                              )

                            SUMMARY COVER SHEET
                        TO THE FINAL FEE APPLICATION
                  OF KIRKLAND & ELLIS LLP AND KIRKLAND
               & ELLIS INTERNATIONAL LLP, ATTORNEYS FOR THE
             DEBTORS AND DEBTORS IN POSSESSION, FOR THE PERIOD
           FROM APRIL 29, 2014 THROUGH AND INCLUDING MARCH 9, 2018


General Information

Name of Applicants:                                                       Kirkland & Ellis LLP and
                                                                          Kirkland & Ellis International
                                                                          LLP

Authorized to Provide Services to:                                        Energy Future Holdings Corp., et
                                                                          al.

Date of Order Authorizing                                                 September 16, 2014, nunc pro
the Debtors to Retain Kirkland:                                           tunc to April 29, 2014
                                                                          [D.I. 2052]




1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
    their federal tax identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.



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Summary of Fees and Expenses Sought in the Fee Application

Period for Which Compensation and                                     April 29, 2014 through and
Reimbursement is Sought in the Fee Application:                       including March 9, 2018

Amount of Final Compensation Sought as Actual,
Reasonable, and Necessary:                                            $172,805,511.202

Amount of Final Expense Reimbursement Sought as
Actual, Reasonable, and Necessary:                                    $10,433,832.693

Blended Rate In This Application For All Attorneys                    $809.51/hour



Blended Rate In This Application For All Timekeepers                  $745.26/hour


This is a final fee application.


Kirkland did not spend any time or hours prior to the EFH Effective Date preparing this Fee
Application. Additional detail regarding time spent and fees incurred reviewing or revising
time records and preparing, reviewing, and revising invoices for privileged or confidential
information during the Fee Period is set forth in the Husnick Declaration.




2
    As described herein in paragraph 12, pursuant to negotiations with the Fee Committee in connection with the
    Interim Fee Applications, Kirkland agreed to voluntarily writedown certain fees. The amount of final
    compensation sought pursuant to the Fee Application reflects such voluntary reductions.
3
    As described herein in paragraph 12, pursuant to negotiations with the Fee Committee in connection with the
    Interim Fee Applications, Kirkland agreed to voluntarily writedown certain expenses. The amount of final
    expense reimbursement sought pursuant to the Fee Application reflects such voluntary reductions.


                                                      2
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Rate Increases Applicable to the Fee Period

Are Any Timekeeper’s Hourly Rates Higher Than Those                  See Exhibit E
Charged and Approved Upon Retention?

Summary of Past Requests for Compensation and Prior Payments4

Total Allowed Compensation Paid to Date:                             $166,925,240.20

Total Allowed Expenses Paid to Date:                                 $10,309,472.89

Number of Professionals With Time Included In This                   423
Application:



PRIOR INTERIM FEE APPLICATIONS & ADJUSTMENTS:
                                              Requested                    Approved
        Date         Interim Fee          Fees        Expenses        Fees         Expenses
       [Docket     Period (“IFP”)
         No.]
October 31, 2014 First IFP          $25,600,790.50 $1,248,049.03 $24,511,927.32 $1,122,860.04
[D.I. 2683]       04-29-14 to 8-31-
                  14
February 17, 2015 Second IFP        $25,084,064.00 $1,984,872.90 $23,423,494.51 $1,755,304.93
[D.I. 3569]       9-1-14 to 12-31-
                  14
June 15, 2015     Third IFP         $28,712,575.50 $3,047,572.82 $28,214,940.60 $2,906,690.80
[D.I. 4773]       1-1-15 to 4-30-15
October 15, 2015 Fourth IFP         $20,074,835.50 $1,256,581.06 $19,500,692.25 $1,183,764.87
[D.I. 6484]       5-1-15 to 8-31-15
January 22, 2016 Fifth IFP          $20,074,835.50 $1,256,581.06 $19,500,692.25 $1,183,764.87
[D.I. 7719]       9-1-15 to 12-31-
                  15
June 15, 2016     Sixth IFP         $6,832,541.50  $422,706.64 $6,197,147.55 $333,509.07
[D.I. 8736]       1-1-16 to 4-30-16
October 17, 2016 Seventh IFP        $15,935,849.50 $590,119.93 $15,732,906.30 $530,438.85
[D.I. 9844]       5-1-16 to 8-31-16
February 15, 2017 Eighth IFP        $8,239,650.00  $318,796.13 $8,065,781.00 $287,714.85
[D.I. 10840]      9-1-16 to 12-31-
                  16
June 14, 2017     Ninth IFP         $6,309,112.50  $222,741.03 $6,211,600.87 $208,883.03
[D.I. 11349]      1-1-17 to 4-30-17

4
    Kirkland filed the January Monthly Fee Statement on March 6, 2018 [D.I. 12792], and the February/March
    Monthly Fee Statement on April 5, 2018 [D.I. 12917]. As of the date hereof, Kirkland has not yet received
    payments relating to compensation and expenses sought in these two Monthly Fee Statements.


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October 17, 2017     Tenth IFP         $10,208,548.00 $251,875.14 $9,945,909.05 $251,875.14
[D.I. 12071]         5-1-17 to 8-31-17
February 14, 2018    Eleventh IFP      $3,442,137.50  $58,404.97     Pending         Pending
[D.I. 12635]         9-1-17 to 12-31-
                     17
April 17, 2018       Twelfth IFP       $2,576,688.00  $67,552.31     Pending         Pending
[D.I. 12961]         1-1-18 to 3-9-18
          Total fees and expenses approved by interim orders to date: $166,925,240.20 $10,309,742.89




                                                 4
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           FEE COMMITTEE’S REQUESTED ATTACHMENTS TO FINAL FEE
                              APPLICATIONS

List of Professionals -Local Rule 2016-                See Exhibit E
2(c)(2) and ¶C.2.k of the U.S. Trustee
Guidelines

Compensation by Project Category- and ¶                See Exhibit I
C.8.a and b of the U.S. Trustee Guidelines

Expense Summary- Local Rule 2016-2(c)(ii)              See Exhibit F
and ¶ C.12 of the U.S. Trustee Guidelines

List of Professionals by Matter- ¶ C.8.c. of           See Exhibit J
the U.S. Trustee Guidelines

Detailed Time Records –Local Rule 2016-                Kirkland has previously provided Detailed
2(d) and ¶ C.9 of the U.S. Trustee Guidelines          Time Records in the form of Exhibits
                                                       appended to each of the Interim Fee
                                                       Applications. In satisfaction of this Local
                                                       Rule, Kirkland hereby incorporates by
                                                       reference all Detailed Time Records and
                                                       previously filed in conjunction with the
                                                       Interim Fee Applications.

Detailed Expense Records – Local Rule                  Kirkland has previously provided Detailed
2016-2(e)(i) and U.S. Trustee Guidelines ¶             Expense Records in the form of Exhibits
C.9                                                    appended to each of the Interim Fee
                                                       Applications. In satisfaction of this Local
                                                       Rule, Kirkland hereby incorporates by
                                                       reference all Detailed Expense Records and
                                                       previously filed in conjunction with the
                                                       Interim Fee Applications.5



       In accordance with the Local Rules of Bankruptcy Procedure of the United States
Bankruptcy Court for the District of Delaware (the “Local Bankruptcy Rules”), Kirkland & Ellis
LLP and Kirkland & Ellis International LLP (collectively, “Kirkland”), attorneys for the
above-captioned debtors and debtors in possession (collectively, the “Debtors”), 6 submit this
5
    Kirkland incurred $4,357.39 in costs during January and February of 2018 for which Kirkland has not yet
    sought compensation. These costs are incorporated into requests presented with this Fee Application (as
    defined below), and detailed expense records of such costs are attached to the Fee Application as Exhibit K.
6
    Texas Competitive Electric Holdings Company LLC (“TCEH” and, together with its direct parent company,
    Energy Future Competitive Holdings Company LLC (“EFCH”) and certain of TCEH’s direct and indirect
    subsidiaries, the “TCEH Debtors”) and certain EFH Debtors (defined in the TCEH Plan as the EFH Shared

                                                       5
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summary (this “Summary”) of fees and expenses sought as actual, reasonable, and necessary to
which this Summary is attached (the “Fee Application”)7 for the period from April 29, 2014
through and including March 9, 2018 (the “Fee Period”). Kirkland submits the Fee Application
as a final fee application in accordance with the Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Professionals [D.I. 2066] (the “Interim
Compensation Order”) and the Stipulation and Order Appointing a Fee Committee [D.I. 1896],
as amended on February 1, 2018 [D.I. 12552] (the “Fee Committee Order”) and communications
with the Fee Committee.




    Services Debtors) emerged from bankruptcy on October 3, 2016 (the “TCEH Effective Date”), and are no
    longer debtors in possession.
    The EFH/EFIH Debtors (as defined in the EFH/EFIH Plan) emerged from bankruptcy on March 9, 2018 (the
    “EFH Effective Date”), and are no longer debtors in possession.
7
    Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such
    terms in the Fee Application.


                                                     6
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Dated: April 23, 2018
       Chicago, Illinois                     /s/ Chad J. Husnick
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    Edward O. Sassower, P.C. (admitted pro hac vice)
                                    Stephen E. Hessler, P.C. (admitted pro hac vice)
                                    Brian E. Schartz, P.C. (admitted pro hac vice)
                                    Aparna Yenamandra (admitted pro hac vice)
                                    601 Lexington Avenue
                                    New York, New York 10022-4611
                                    Telephone:      (212) 446-4800
                                    Facsimile:      (212) 446-4900
                                    Email:          edward.sassower@kirkland.com
                                                    stephen.hessler@kirkland.com
                                                    brian.schartz@kirkland.com
                                                    aparna.yenamandra@kirkland.com
                                    -and-

                                    James H.M. Sprayregen, P.C. (admitted pro hac vice)
                                    Marc Kieselstein, P.C. (admitted pro hac vice)
                                    Chad J. Husnick, P.C. (admitted pro hac vice)
                                    Steven N. Serajeddini (admitted pro hac vice)
                                    300 North LaSalle
                                    Chicago, Illinois 60654
                                    Telephone:      (312) 862-2000
                                    Facsimile:      (312) 862-2200
                                    Email:          james.sprayregen@kirkland.com
                                                    marc.kieselstein@kirkland.com
                                                    chad.husnick@kirkland.com
                                                    steven.serajeddini@kirkland.com

                                    Co-Counsel to the Reorganized TCEH Debtors, Reorganized
                                    EFH Shared Services Debtors, and the EFH Plan Administrator
                                    Board




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )     Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )     Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )     (Jointly Administered)
                                                              )

                                  FINAL FEE APPLICATION OF
                       KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                    INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS
                    AND DEBTORS IN POSSESSION, FOR THE PERIOD FROM
                   APRIL 29, 2014 THROUGH AND INCLUDING MARCH 9, 2018


         Kirkland & Ellis LLP and Kirkland & Ellis International LLP (collectively, “Kirkland”),

attorneys for the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

hereby submit this final fee application (the “Fee Application”) for allowance of compensation

for professional services provided in the amount of $172,805,511.20 and reimbursement of

actual and necessary expenses in the amount of $10,433,832.69 that Kirkland incurred for the

period from April 29, 2014 through and including March 9, 2018 (the “Fee Period”). In support

of this Fee Application, Kirkland submits the declaration of Chad J. Husnick, the president of

Chad J. Husnick, P.C., a partner of Kirkland & Ellis LLP, and a partner of Kirkland & Ellis

International LLP, (the “Husnick Declaration”), which is attached hereto as Exhibit A and

incorporated by reference. In further support of this Fee Application, Kirkland respectfully




1
    The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.



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states as follows.2

                                                  Jurisdiction

        1.         The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Bankruptcy Rules”) to the entry of a final order by the Court in connection

with this Fee Application to the extent that it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

        2.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.         The bases for the relief requested herein are sections 330 and 331 of title 11 of the

United States Code (the “Bankruptcy Code”), Bankruptcy Rule 2016, Local Bankruptcy

Rule 2016-1 and 2016-2, the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [D.I. 2066] (the “Interim Compensation Order”),

and the Stipulation and Order Appointing a Fee Committee [D.I. 1896], as amended on February

1, 2018 [D.I. 12552] (the “Fee Committee Order”).3


2
    Capitalized terms used but not otherwise defined in this Fee Application shall have the meanings ascribed to
    such terms in the Summary Cover Sheet to the Final Fee Application of Kirkland & Ellis LLP and Kirkland &
    Ellis International LLP, Attorneys for the Debtors and Debtors in Possession, for the Period from
    April 29, 2014 Through and Including March 9, 2018.
3
    On October 3, 2014, October 7, 2014, December 1, 2014, March 9, 2015, June 9, 2015, December 15, 2015,
    and March 12, 2018, the Fee Committee (as defined herein) distributed guidelines to those professionals
    retained in these chapter 11 cases regarding a number of topics, including, expense reimbursement, fee review
    criteria, and the contents of interim and final fee applications (collectively, the “Fee Committee Guidelines”).


                                                         2
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                                                Background

        1.         On April 29, 2014 (the “Petition Date”), each of the Debtors filed a voluntary

petition with the Court under chapter 11 of the Bankruptcy Code. The Court has entered a final

order for joint administration of these chapter 11 cases [D.I. 849]. The Court has not appointed a

trustee. The Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”)

formed an official committee of the TCEH Debtors (the “TCEH Creditors’ Committee”) on May

13, 2014 [D.I. 420] and an official committee of unsecured creditors of Energy Future Holdings

Corp. (“EFH Corp.”), Energy Future Intermediate Holding Company, LLC (“EFIH”), EFIH

Finance, Inc., and EECI, Inc. (EFH Corp., EFIH, and EFIH Finance Inc., and their direct and

indirect Debtor subsidiaries excluding the TCEH Debtors, such committee, the “EFH Creditors’

Committee” and, together with the TCEH Creditors’ Committee, the “Official Committees”) on

October 27, 2014 [D.I. 2570]. Further information regarding the Debtors’ business operations

and capital structure is set forth in the declaration of Paul Keglevic in support of the Debtors’ first

day motions [D.I. 98], and the Disclosure Statement for the First Amended Joint Plan of

Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding Company

LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 11889].




    Following (a) the TCEH Effective Date, fees and expenses attributable to TCEH Debtors and the EFH Shared
    Services Debtors will be paid from the Professional Fee Escrow Account (defined in the TCEH Plan), on the
    terms set forth in the TCEH Plan and the order confirming the TCEH Plan and (b) the EFH Effective Date, fees
    and expenses attributable to the EFH Debtors and the EFIH Debtors will be paid from the EFH Professional Fee
    Escrow Account and the EFIH Professional Fee Escrow Account (each as defined in the EFH/EFIH Plan), on
    the terms set forth in the EFH/EFIH Plan and the order confirming the EFH/EFIH Plan.
    Time billed (a) to the TCEH Debtors and the EFH Shared Services Debtors after the TCEH Effective Date and
    (b) to the EFH Debtors and the EFIH Debtors after the EFH Effective Date is not reflected in this Fee
    Application.




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        2.         On September 16, 2014, the Court entered the Interim Compensation Order, which

sets forth the procedures for interim compensation and reimbursement of expenses for all retained

professionals in these cases.

        3.         Given the size and complexity of the Debtors’ chapter 11 cases, the U.S. Trustee,

the Debtors, and the TCEH Creditors’ Committee agreed to recommend that the Court appoint a

fee committee to review and report on, as appropriate, interim and final fee applications filed by

all retained professionals in accordance with sections 328, 330, and 331 of the Bankruptcy Code

and the Interim Compensation Order (the “Fee Committee”). On August 21, 2014, the Court

entered the Fee Committee Order, appointing the Fee Committee and establishing the procedures

governing the Fee Committee’s review of the Debtors’ retained professionals’ applications for

compensation and the resolution of any concerns raised during such review. On February 1,

2018, the Court entered the Order Amending Stipulation and Order Appointing Fee Committee

and Granting Related Relief [D.I. 12552], which amended the Fee Committee Order.

        4.         On October 3, 2016, in accordance with the order confirming the Third Amended

Joint Plan of Reorganization of Energy Future Holdings Corp., et al., Pursuant to Chapter 11 of

the Bankruptcy Code [D.I. 9199] (the “TCEH Plan”), Texas Competitive Electric Holdings

Company LLC (“TCEH” and, together with its direct parent company, Energy Future

Competitive Holdings Company LLC (“EFCH”) and certain of TCEH’s direct and indirect

subsidiaries, the “TCEH Debtors”) and certain EFH Debtors (defined in the TCEH Plan as the

EFH Shared Services Debtors) emerged from bankruptcy. Subsequently, the EFH/EFIH Debtors

pursued confirmation of a chapter 11 plan of reorganization (the “EFH/EFIH Plan”). On March

9, 2018, in accordance with the Order Confirming the First Amended Joint Plan of

Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding Company


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LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy Code [D.I. 12673]

(the “EFH Confirmation Order”), the EFH/EFIH Debtors emerged from bankruptcy.4

        5.         Pursuant to Article II.A of the EFH/EFIH Plan, the Debtors’ professionals

(including Kirkland) are required to file their final request for payment of Professional Fee

Claims (as defined in the EFH/EFIH Plan) no later than 45 days after the EFH Effective Date. In

compliance with the requests of the Fee Committee, the Debtors concurrently filing their final

request for payment of fees attributable to the TCEH Debtors within this Fee Application.

                                          Preliminary Statement

        6.         With nearly $40 billion in assets and $49 billion in liabilities, the Debtors’ chapter

11 cases constituted the largest operating chapter 11 case in the United States Bankruptcy Court

for the District of Delaware and the seventh largest chapter 11 case filed in history (by liabilities)

as of the Petition Date. While the Debtors and their stakeholders were keenly aware that the

fragility of the energy market, combined with the sheer size of the Debtors’ debt load, made the

Debtors’ chapter 11 cases complex, no party could have predicted the magnitude of challenges

that ultimately faced the Debtors in their path to emergence.

        7.         During the 1,410 days between the Petition Date and the EFH Effective Date,

Kirkland advised the Debtors in connection with four separate confirmation trials, six disclosure

statement hearings, nearly a dozen scheduling hearings, three merger agreement hearings, the

production of millions of pages in discovery, various issues involving unprecedented levels of tax

complexity, multiple plan support agreements, and multiple, multi-billion dollar DIP financing

facilities—all against the backdrop of an evolving creditor base and increasing interest burn.



4
    Notice of Entry of EFH Confirmation Order and Occurrence of EFH Effective Date [D.I. 12801] (the “EFH
    Effective Date”).


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        8.         Indeed, the Debtors’ chapter 11 cases have involved at least eight separate

“phases,” each of which could have been a separate chapter 11 case under ordinary

circumstances.

                  From April 2014 to July 2014, Kirkland advised the Debtors in connection with
                   first and second day relief, the first request to extend exclusivity, and the
                   termination of the Debtors’ prepetition restructuring support agreement.

                  From August 2014 to January 2015, Kirkland advised the Debtors in connection
                   with various operational motions for the TCEH Debtors, an informal marketing
                   process to sell EFH’s indirect economic interest in Oncor, and obtaining approval
                   of the process for establishing and implementing certain key compensation
                   programs (which process the Court deemed to be the “gold standard” in
                   compensation process).

                  From January 2015 to July 2015, Kirkland advised the Debtors in connection with
                   a formal marketing process and the disinterested directors reached agreement on
                   the global Disinterested Directors Settlement (as defined in the TCEH Plan),
                   resolving billions of dollars in potential claims and avoiding value-destructive
                   litigation.

                  From August 2015 to May 2016, Kirkland advised the Debtors in connection with
                   approval of the Disinterested Directors Settlement, confirmation and
                   consummation of a plan of reorganization contemplating a merger sponsored by
                   Hunt Consolidated, Inc. and certain of its co-investors (the “Hunt Plan”).

                  From May 2016 to November 2016, Kirkland advised the Debtors in connection
                   with a new EFH/EFIH Plan, following the termination of the Hunt Plan, as well as
                   bifurcation of the EFH/EFIH Debtors’ chapter 11 cases from the TCEH Debtors
                   chapter 11 cases, ultimately allowing the TCEH Debtors and EFH Shared
                   Services Debtors (as defined in the TCEH Plan) to emerge from chapter 11 on
                   October 3, 2016.

                  From November 2016 to April 2017, Kirkland advised the Debtors in responding
                   to the opinion of the United States Court of Appeals for the Third Circuit
                   regarding Makewhole Claims (as defined in the EFH/EFIH Plan) (the
                   “Makewhole Opinion”) and its effects on the EFH/EFIH Plan, ultimately yielding
                   the EFIH Settlement Agreement (as defined in the EFH/EFIH Plan) and
                   confirmation of a plan of reorganization contemplating a merger with NextEra
                   Energy, Inc. (the “NEE Plan”).

                  From April 2017 to August 2017, Kirkland advised the Debtors on evaluating
                   next steps following the Public Utility Commission of Texas’ ruling with respect
                   to the NEE Plan, including in connection with negotiations with Berkshire
                   Hathaway Energy, Sempra Energy, and Elliott Management.

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                  Finally, from August 2017 to March 2018, Kirkland advised the Debtors in
                   connection with confirmation, and, ultimately, consummation of the EFH/EFIH
                   Plan.

        9.         The Debtors’ chapter 11 cases have not been easy. Beginning with the first

exclusivity extension request for 60 days (which received no less than eight separate objections),

the Debtors have spent the last four years negotiating with nearly a dozen very active,

sophisticated creditors to maximize the value of their estates. As facts and circumstances

changed, sometimes against the expectations of most, if not all parties, Kirkland advised the

Debtors in swiftly responding to such changes. As a result, the Debtors were ultimately able to

emerge from chapter 11 having shed over $40 billion in debt pursuant to two separate multi-

billion transactions.

                                 The Debtors’ Retention of Kirkland

        10.        On September 16, 2014, the Court entered the Order Authorizing the Retention

and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys

for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date

[D.I. 2052] (the “Retention Order”), attached hereto as Exhibit B and incorporated by reference.

The Retention Order authorizes the Debtors to compensate and reimburse Kirkland in accordance

with the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, the Fee

Committee Order, and the Interim Compensation Order. The Retention Order also authorizes the

Debtors to compensate Kirkland at Kirkland’s hourly rates charged for services of this type and to

reimburse Kirkland for actual and necessary out-of-pocket expenses incurred, subject to

application to this Court.5 The particular terms of Kirkland’s engagement are detailed in the



5
    In accordance with the Retention Order, Kirkland does not seek reimbursement of expenses for office supplies
    pursuant to this Fee Application.


                                                       7
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engagement letter by and between Kirkland and the Debtors, effective as of June 19, 2012, and

attached hereto as Exhibit C.

        11.        The Retention Order authorizes Kirkland to provide the following services

consistent with and in furtherance of the services enumerated above:

                   a. advising the Debtors with respect to their powers and duties as debtors in
                      possession in the continued management and operation of their businesses and
                      properties;

                   b. preparing pleadings, including motions, applications, answers, orders, reports,
                      and papers necessary or otherwise beneficial to the administration of the
                      Debtors’ estates and consistent with the services identified in the Retention
                      Order;

                   c. appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates before those courts in connection with the services in
                      the Retention Order; and

                   d. performing all other legal services reasonably necessary or otherwise
                      beneficial for the Debtors in connection with these chapter 11 cases.

        12.        In addition, Kirkland has voluntarily reduced its fees by $5,498,070.00 and its

expenses by $986,448.56 pursuant to the Monthly Fee Statements, prior to any negotiations with

the Fee Committee.         Following negotiations with the Fee Committee, Kirkland agreed to

additional fee reductions of $5,447,204.80 and expense reductions of $863.347.41. For the

avoidance of doubt, Kirkland does not seek payment of any fees or expenses it has voluntarily

agreed to reduce, as described in this paragraph 12.

                                    Disinterestedness of Kirkland

        13.        To the best of the Debtors’ knowledge and as disclosed in: the Declaration of

Edward O. Sassower, P.C. in Support of the Debtors’ Application for the Entry of an Order

Authorizing the Retention and Employment of Kirkland & Ellis LLP as Attorneys for the Debtors

and Debtors in Possession Effective Nunc Pro Tunc to the Effective Date [D.I. 660] (the “First

Sassower Declaration”); the Amended Declaration of Edward O. Sassower in Support of the

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& Ellis LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to

the Effective Date [D.I. 1733] (the “Amended Sassower Declaration”); the First Supplemental

Declaration of Edward O. Sassower in Support of the Debtors’ Application for Entry of an Order

Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis

International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date [D.I. 2005] (the “First Supplemental Sassower Declaration”); the

Second Supplemental Declaration of Edward O. Sassower in Support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

Effective Nunc Pro Tunc to the Petition Date [D.I. 2949] (the “Second Supplemental Sassower

Declaration”); the Third Supplemental Declaration of Edward O. Sassower in Support of the

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of

Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I. 3041] (the “Third

Supplemental Sassower Declaration”); the Fourth Supplemental Declaration of Edward O.

Sassower in Support of the Debtors’ Application for Entry of an Order Authorizing the Retention

and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys

for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I.

4963] (the “Fourth Supplemental Sassower Declaration”); the Fifth Supplemental Declaration of

Edward O. Sassower in Support of the Debtors’ Application for Entry of an Order Authorizing

the Retention and Employment of Kirkland & Ellis LLP and Kirkland and Ellis International LLP

as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition


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Date [D.I. 6240] (the “Fifth Supplemental Sassower Declaration”); the Sixth Supplemental

Declaration of James H.M. Sprayregen in Support of the Debtors’ Application for Entry of an

Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland and Ellis

International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date [D.I. 7418] (the “Sixth Supplemental Sprayregen Declaration”); the

Seventh Supplemental Declaration of Edward O. Sassower in Support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland and Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

Effective Nunc Pro Tunc to the Petition Date [D.I. 8734] (the “Seventh Supplemental Sassower

Declaration”); the Eighth Supplemental Declaration of Edward O. Sassower in Support of the

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of

Kirkland & Ellis LLP and Kirkland and Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I. 9216] (the “Eighth

Supplemental Sassower Declaration”); the Ninth Supplemental Declaration of Edward O.

Sassower in Support of the Debtors’ Application for Entry of an Order Authorizing the Retention

and Employment of Kirkland & Ellis LLP and Kirkland and Ellis International LLP as Attorneys

for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I.

10280] (the “Ninth Supplemental Sassower Declaration”); the Tenth Supplemental Declaration of

Edward O. Sassower in Support of the Debtors’ Application for Entry of an Order Authorizing

the Retention and Employment of Kirkland & Ellis LLP and Kirkland and Ellis International LLP

as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition

Date [D.I. 10408] (the “Tenth Supplemental Sassower Declaration”); the Eleventh Supplemental

Declaration of Edward O. Sassower in Support of the Debtors’ Application for Entry of an Order


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International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date [D.I. 11124] (the “Eleventh Supplemental Sassower Declaration”); the

Twelfth Supplemental Declaration of Chad J. Husnick in Support of the Debtors’ Application for

Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland and Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

Effective Nunc Pro Tunc to the Petition Date [D.I. 11363] (the “Twelfth Supplemental Husnick

Declaration”); the Thirteenth Supplemental Declaration of Chad J. Husnick in Support of the

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of

Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I. 11849] (the “Thirteenth

Supplemental Husnick Declaration”); the Fourteenth Supplemental Declaration of Chad J.

Husnick in Support of the Debtors’ Application for Entry of an Order Authorizing the Retention

and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys

for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [D.I.

12054] (the “Fourteenth Supplemental Husnick Declaration”); the Fifteenth Supplemental

Declaration of Chad J. Husnick in Support of the Debtors’ Application for Entry of an Order

Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis

International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date [D.I. 12352] (the “Fifteenth Supplemental Husnick Declaration” and

together with the First Sassower Declaration, the Amended Sassower Declaration, the First

Supplemental Sassower Declaration, the Second Supplemental Sassower Declaration, the Third

Supplemental Sassower Declaration, the Fourth Supplemental Sassower Declaration, the Fifth


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Supplemental Sassower Declaration, the Sixth Supplemental Sprayregen Declaration, the Seventh

Supplemental Sassower Declaration, the Eighth Supplemental Sassower Declaration, the Ninth

Supplemental Sassower Declaration, the Tenth Supplemental Sassower Declaration, the Eleventh

Supplemental Sassower Declaration, the Twelfth Supplemental Husnick Declaration, the

Thirteenth Supplemental Husnick Declaration, and the Fourteenth Supplemental Husnick

Declaration, the “Kirkland Declarations”)6 , Kirkland (a) is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code; (b) does not hold or represent an interest adverse to the Debtors’ estates; and

(c) has no connection to the Debtors, their creditors, or other parties-in-interest, except as may be

disclosed in the Kirkland Declarations.

        14.        Kirkland may have in the past represented, may currently represent, and likely in

the future will represent parties-in-interest in connection with matters unrelated to the Debtors in

these chapter 11 cases. In the Kirkland Declarations, Kirkland disclosed its connections to

parties-in-interest that it has been able to ascertain using its reasonable efforts. Kirkland will

update the Kirkland Declarations or file additional ones, as appropriate, if Kirkland becomes

aware of relevant and material new information.

        15.        Kirkland performed the services for which it is seeking compensation on behalf of

the Debtors and their estates, and not on behalf of any committee, creditor, or other entity.

        16.        Except to the extent of the advance payments paid to Kirkland that Kirkland

previously disclosed to this Court in the Kirkland Declarations, Kirkland has received no payment

and no promises for payment from any source other than the Debtors for services provided or to

be provided in any capacity whatsoever in connection with these chapter 11 cases.

6
    Kirkland will file a final supplemental declaration on or prior to May 15, 2018, the deadline to object to this Fee
    Application.


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        17.        Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared, nor has Kirkland

agreed to share (a) any compensation it has received or may receive with another party or person

other than with the partners, counsel, and associates of Kirkland or (b) any compensation another

person or party has received or may receive.

                                  Summary of Compliance with
                       Interim Compensation Order and Fee Committee Order

        18.        This Fee Application has been prepared in accordance with the Interim

Compensation Order, the Fee Committee Order, Article II.A. of the EFH/EFIH Plan, and Article

II.A. of the TCEH Plan.

        19.        Kirkland seeks final compensation for professional services rendered to the

Debtors during the Fee Period in the amount of $172,805,511.20 and reimbursement of actual and

necessary expenses incurred in connection with providing such services in the amount of

$10,433,832.69. During the Fee Period, Kirkland attorneys and paraprofessionals expended a

total of 239,368.20 hours for which compensation is requested.

        20.        Pursuant to the Interim Compensation Order, Kirkland has already received a total

of $166,925,240.20 for legal services provided to the Debtors during the Fee Period and

$10,309,472.82 for expenses incurred in connection therewith.

        21.        Kirkland has sought payments totaling $2,012,104.24 under the Interim

Compensation Order and the Fee Committee Order pursuant to the January Monthly Fee

Statement and the February/March Monthly Fee Statement (each as defined in the Twelfth

Interim Fee Application [D.I. 12961] and collectively, the “January-March Monthly Fee

Statements”).       Kirkland has submitted the January-March Monthly Fee Statements seeking

payment of (a) 80% of the fees incurred by the Debtors for reasonable and necessary professional

services rendered by Kirkland and (b) 100% of the actual and necessary costs and expenses

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incurred by Kirkland in connection with the services provided to the Debtors for each month. As

of the filing of this Fee Application, the amounts set forth in the January-March Monthly Fee

Statements have not been paid. Kirkland anticipates receiving such amounts in advance of the

hearing on this Fee Application.

        22.         Additionally, Kirkland has sought payments totaling $1,176,054.20 under the

Interim Compensation Order and the Fee Committee Order pursuant to the Eleventh Interim Fee

Application [D.I. 12635] and the Twelfth Interim Fee Application [D.I. 12961], representing the

sum of the 20% holdback on fees requested in the Eleventh Interim Fee Application

($688,427.50) and the 20% holdback on fees requested in the Twelfth Interim Fee Application

($487,626.70). As of the filing of this Fee Application, the 20% holdback of fees requested to be

paid pursuant to each such interim fee application have not been paid. Kirkland anticipates

receiving such amounts in advance of the hearing on this Fee Application.

        23.        Accordingly, by this Fee Application, and solely to the extent such amounts have

not been paid by the time of the hearing on this Fee Application, Kirkland seeks payment of the

remaining $3,332,667.61 which represents all unpaid fees and expenses incurred during the Fee

Period (i.e., the unpaid amounts requested in the January-March Monthly Fee Statements and the

20% holdback on fees requested in the Eleventh Interim Fee Application and Twelfth Interim Fee

Application).7




7
    Kirkland’s request additionally includes $4,357.39 in costs incurred during January and February of 2018, but
    not previously requested. These costs are incorporated into requests presented with this Fee Application, and
    detailed invoices of such costs are attached hereto as Exhibit K.


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                            Fees and Expenses Incurred During Fee Period

A.       Customary Billing Disclosures.

        24.        Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly

for the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The

hourly rates and corresponding rate structure utilized by Kirkland in these chapter 11 cases are

equivalent to the hourly rates and corresponding rate structure used by Kirkland for other

restructuring matters, as well as similar complex corporate, securities, and litigation matters

whether in court or otherwise, regardless of whether a fee application is required. The rates and

rate structure reflect that such restructurings and other complex matters typically are national in

scope and typically involve great complexity, high stakes, and severe time pressures. For the

convenience of the Court and all parties-in-interest, attached hereto as Exhibit D is a summary of

blended hourly rates for timekeepers who billed to non-bankruptcy matters and blended hourly

rates for timekeepers who billed to the Debtors during the Fee Period.

B.       Fees Incurred During Fee Period.

        25.        In the ordinary course of Kirkland’s practice, Kirkland maintains computerized

records of the time expended to render the professional services required by the Debtors and their

estates. For the convenience of the Court and all parties-in-interest, attached hereto as Exhibit E

is a summary of fees incurred and hours expended during the Fee Period, setting forth the

following information:

                  the name of each attorney and paraprofessional for whose work on these
                   chapter 11 cases compensation is sought;

                  each attorney’s year of bar admission and area of practice concentration;

                  the aggregate time expended and fees billed by each attorney and each
                   paraprofessional during the Fee Period;



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                  the hourly billing rate for each attorney and each paraprofessional at Kirkland’s
                   current billing rates;

                  the hourly billing rate for each attorney and each paraprofessional as disclosed in
                   the first interim fee application;

                  the number of rate increases since the inception of the case; and

                  a calculation of total compensation requested for each timekeeper assuming there
                   were no rate increases during the Fee Period.

C.       Expenses Incurred During Fee Period.

        26.        In the ordinary course of Kirkland’s practice, Kirkland maintains a record of

expenses incurred in the rendition of the professional services required by the Debtors and their

estates and for which reimbursement is sought. Kirkland currently charges $0.16 per page for

standard duplication in its offices in the United States. Notwithstanding the foregoing and

consistent with the Local Bankruptcy Rules, Kirkland charged no more than $0.10 per page for

standard duplication services in these chapter 11 cases. Kirkland does not charge its clients for

incoming facsimile transmissions.

        27.        For the convenience of the Court and all parties-in-interest, attached hereto as

Exhibit F is a summary of expenses incurred during the Fee Period and setting forth the total

amount of reimbursement sought with respect to each category of expenses for which Kirkland is

seeking reimbursement.

                                      Proposed Payment Allocation

        28.        In accordance with paragraph 2(b) of the Interim Compensation Order, Kirkland

proposes the following allocation of the fees and expenses billed during the Fee Period among

(a) EFH Corp., (b) EFIH, and (c) the TCEH Debtors:8

8
     On October 3, 2016, the TCEH Effective Date occurred, and accrued but unpaid amounts for fees and expenses
     attributable to the TCEH Debtors billed during the Fee Period will be paid from the Professional Fee Escrow
     Account (as defined in the TCEH Plan) and on the terms set forth in the TCEH Plan and order confirming the
     TCEH Plan.

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                              Direct Benefit Fees: $39,906,306.24
                  (comprised of $39,702,404.00 fees and $203,902.24 expenses)
          Debtor(s)                                         Amount
EFH Corp.                       $1,955,424.17
EFIH                            $17,561,440.75
TCEH Debtors                    $20,389,441.32
Total:                          $39,906,306.24
                           Collective Benefit Fees: $149,783,741.91
                (comprised of $138,688,866.50 fees and $11,094,875.41 expenses)
          Debtor(s)                                         Amount
EFH Corp.                       $11,104,949.64
EFIH                            $73,136,683.96
TCEH Debtors                    $65,535,353.06
Total:                          $149,783,741.91
Grand Total:                    $189,690,048.159

        29.        Throughout the Fee Period, Kirkland generally allocated the fees and expenses

sought in connection with this Final Fee Application “to the applicable Debtors for whose direct

benefit such fees and expenses were incurred”10 (the “Direct Benefit Fees”), in accordance with

the Interim Compensation Order. For example, services performed in connection with the EFIH

DIP Facility were billed as Direct Benefit Fees solely to EFIH. Alternatively, services performed

in connection with negotiations with the TCEH Committee were billed as Direct Benefit Fees

solely to TCEH. In each case, Kirkland timekeepers billed their time to EFIH-only, or TCEH-

only specific client matter numbers (i.e., time was tracked to each particular estate).



     On March 9, 2018, the EFH Effective Date occurred, and accrued but unpaid amounts for fees and expenses
     attributable to the EFH Debtors and EFIH Debtors billed during the Fee Period will be paid from the EFH
     Professional Fee Escrow Account and EFIH Professional Fee Escrow Account (each as defined in the
     EFH/EFIH Plan) and on the terms set forth in the EFH/EFIH Plan and order confirming the EFH/EFIH Plan.
     The fees and expenses set forth in this section do not reflect the voluntary reductions Kirkland agreed to
     following negotiations with the Fee Committee in connection with the Interim Fee Applications, as described in
     paragraph 12 herein and in the Summary Cover Sheet attached hereto.
9
     Kirkland notes that Exhibit G and Exhibit I attached hereto represent total fees of $189,690,046.26, which
     represents a discrepancy of $0.11 as compared to this figure.
10
     Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Professionals
     [D.I. 2066] (the “Interim Compensation Order”).


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           30.     Moreover, in situations where fees and expenses were incurred for the collective

benefit of the EFH, EFIH, and TCEH Debtors, Kirkland generally allocated such fees and

expenses “to each Debtor in the same proportion that the amount of Direct Benefit Fees incurred

by [Kirkland] for such Debtor bears to the total amount of Direct Benefit Fees incurred by

[Kirkland] for all of the Debtors” 11 (the “Collective Benefit Fees”). In each case, Kirkland

timekeepers billed their time to client matter numbers that had the prefix [ALL], and the fees

incurred for the aggregate [ALL] client matter numbers represented the total Collective Benefit

Fees.

           31.     By way of illustrative example, assume in a particular Monthly Fee Statement for

services performed prior to the TCEH Effective Date, Kirkland timekeepers billed (a) $100 in

fees to EFH-only, for services that directly benefitted EFH; (b) $200 in fees to EFIH-only, for

services that directly benefitted EFIH; (c) $500 in fees to TCEH-only, for services that directly

benefitted TCEH; and (d) $12,000 in fees for services that collectively benefitted each of EFH,

EFIH, and TCEH. First, in such Monthly Fee Statement, Kirkland would request compensation

of $10,240—i.e., 80% of all fees billed in such month. Second, with respect to the Direct Benefit

Fees, Kirkland would request EFH to pay $80 (i.e., 80% of $100), EFIH to pay $160 (i.e., 80% of

$200), and TCEH to pay $400 (i.e., 80% of $500), for a total of $640 in Direct Benefit Fees.

Third, with respect to the Collective Benefit Fees, Kirkland would request (a) EFH to pay 12.5%

(i.e., $80/$640), or $1,200; (b) EFIH to pay 25% (i.e., $160/$640), or $3,000; and (c) TCEH to

pay 62.5% (i.e., $400/$640), or $7,500. As a result, the allocation of fees and expenses to EFH,

EFIH, and TCEH changed each month depending on whether there was comparatively more

services performed for the benefit of a single estate as opposed to all of the Debtors’ estates.


11
     Id.


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        32.        Following the TCEH Effective Date, in the event Kirkland timekeepers performed

services that benefitted the EFH Debtors, the EFIH Debtors, and the Reorganized TCEH Debtors,

Kirkland timekeepers billed such time to client matter numbers that had the prefix [ALL E-SIDE]

and [Reorganized TCEH], as applicable. In addition, TCEH is differently situated than EFH and

EFIH.     Among other key differences, TCEH had unique tax considerations, over 5,000

employees, and was the sole operating arm of the Debtors’ three “silos.” As a result, as compared

to EFH and EFIH, Kirkland performed comparably more services that were for the direct benefit

of TCEH as compared to services that were for the direct benefit of EFH and EFIH. Following

the TCEH Effective Date, Kirkland adjusted the methodology set forth above for allocating the

Collective Benefit Fees to better reflect this reality. First, for the avoidance of doubt, Collective

Benefit Fees were only allocated as between EFH and EFIH (since any services that were

performed for the collective benefit of EFH and EFIH were billed [ALL E-SIDE] and, separately,

services performed for TCEH were billed in a Reorganized TCEH Debtor matter number).

Second, with the occurrence of the TCEH Effective Date, the diversity of issues as between EFH

and EFIH narrowed (particularly with the occurrence of the EFH/EFIH Committee Settlement).

The primary focus on the “E-side” was the sale of EFH Corp.’s indirect economic interest in

Oncor, the proceeds of which would be used to satisfy, primarily, EFIH creditors, and the

consummation of which would terminate professional fee burn at both EFH and EFIH. As a

result, the vast majority of services Kirkland performed for the EFH/EFIH Debtors following the

TCEH Effective Date were for the collective benefit of both EFH and EFIH. With limited Direct

Benefit Fees, the methodology set forth above did not work as applied.

        33.        As a result, Kirkland allocated the Collective Benefit Fees for services performed

for the EFH/EFIH Debtors following the TCEH Effective Date by the relative debt at EFH and


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EFIH. In particular, before accounting for that certain EFIH second lien paydown in mid-2015,

EFIH had approximately $12.36 billion in debt as compared to approximately $1.42 billion in

debt at EFH—in other words, EFIH carried approximately 90% of the debt load across the

EFH/EFIH Debtors. As a result, following the TCEH Effective Date, Kirkland allocated any

Collective Benefit Fees 10% to EFH and 90% to EFIH.

                        Summary of Legal Services Rendered During the Fee Period

            34.      As discussed above, Kirkland provided extensive and important professional

services to the Debtors in connection with these chapter 11 cases during the Fee Period. These

services were often performed under severe time constraints and were necessary to address a

multitude of critical issues both unique to these chapter 11 cases and typically faced by large

corporate debtors in similar cases of this magnitude and complexity.

            35.      To provide a meaningful summary of Kirkland’s services provided on behalf of the

Debtors and their estates, Kirkland has established, in accordance with its internal billing

procedures, certain subject matter categories (each, a “Matter Category”) in connection with these

chapter 11 cases. The following is a summary of the fees and hours billed for each Matter

Category in the Fee Period:12

     Matter                                                           Hours                  Total Compensation
                          Project Category Description
     Number                                                           Billed                       Billed
     0002         Chapter 11 Bankruptcy Filing                             1,193.30                          744,671.00
     0003         [ALL] Automatic Stay                                         353.30                        207,439.50
     0004         [ALL] Bond Issues                                             23.60                         13,978.00
     0005         [ALL] Business Operations                                    118.60                         96,651.00
     0006         [ALL E-SIDE] Case Administration                         2,357.50                         1,202,442.50
     0007         [ALL] Cash Management                                        185.80                        103,513.50
     0008         [ALL E-SIDE] Claims Admin. & Objections                  5,965.40                         3,921,181.50

12
      In certain instances Kirkland may have billed the same amount of fees, but different amount of hours to
      different Matter Categories. This difference is the result of different staffing of each such Matter Category.
      Matter Categories that have the prefix [ALL E-SIDE] represent time billed to the EFH Debtors and the EFIH
      Debtors.


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  Matter                                                           Hours                  Total Compensation
                       Project Category Description
  Number                                                           Billed                       Billed
  0009        [ALL E-SIDE] Contest Matter & Adv. Proc.                 70,008.40                         44,988,798.00
  0010        [ALL E-SIDE] Corp. Gov. & Sec. Issues                    15,994.60                         13,801,113.00
  0011        [ALL E-SIDE] Exec. Cont. & Unexp. Leases                  1,085.10                           659,404.50
  0012        [ALL E-SIDE] Hearings                                     4,380.80                          3,372,002.00
  0013        [ALL E-SIDE] Insurance                                         65.20                          32,744.50
  0014        [ALL E-SIDE] K&E Retention & Fee Apps                    10,610.40                          5,643,674.50
  0015        [ALL] Mediation                                                 2.60                            1,634.00
  0016        [ALL] Non-Debtor Affiliates                                    94.00                          49,236.50
  0017        [ALL E-SIDE] Non-K&E Ret. & Fee Apps                      2,255.70                          1,408,943.00
  0018        [ALL E-SIDE] Non-Working Travel                           3,261.20                          2,809,010.00
  0019        [ALL] Official Committee Issues & Meet.                       288.50                         221,436.00
  0021        [ALL E-SIDE] Plan & Disclos. Statements                  40,084.80                         35,235,188.50
  0022        [ALL] Private Letter Ruling/IRS Matters                       216.20                         251,119.50
  0023        [ALL E-SIDE] Regulatory Issues                                156.40                         102,766.50
  0024        [ALL] Rest. Support Agrmt./Global Settle                  1,467.60                          1,014,782.00
  0025        [ALL] Retention of Professionals                                0.80                             740.00
  0026        [ALL E-SIDE] Retiree & Empl. Issues/OPEB                  6,356.70                          4,883,829.50
  0027        [ALL] Schedules, SoFAs                                        338.10                         224,870.50
  0028        [ALL] Shared Services                                          13.60                            8,745.50
  0029        [ALL E-SIDE] Tax Issues                                  12,202.20                         12,657,117.50
  0030        [ALL] U.S. Trustee Issues                                      79.30                          58,653.50
  0032        [ALL] Valuation                                           4,523.90                          2,721,956.00
  0033        [ALL] Vendor and Other Creditor Issues                        449.90                         139,107.00
  0034        [TCEH] Asset Dispositions and Purchases                       927.00                         624,505.50
  0035        [TCEH] Automatic Stay                                         392.70                         235,791.50
  0036        [TCEH] Bond Issues                                             55.50                          31,175.50
  0037        [TCEH] Business Operations                                    427.60                         260,489.50
  0038        [TCEH] Cash Collateral and DIP Financing                  1,127.10                           853,966.50
  0039        [TCEH] Claims Administration & Objection                  2,006.50                          1,249,086.50
  0040        [TCEH] Contested Matters & Advers. Proc.                 10,060.70                          7,200,039.50
  0041        [TCEH] Corp. Governance and Sec. Issues                        23.10                          21,909.00
  0042        [TCEH] Environmental Issues                                   541.00                         468,939.50
  0043        [TCEH] Hearings                                               773.40                         512,664.50
  0046        [TCEH] Non-Debtor Affiliates                                  232.40                         133,021.50
  0047        [TCEH] Non-K&E Retention & Fee Apps                            30.80                          21,667.00
  0048        [TCEH] Non-Working Travel                                     222.10                         183,619.50
  0049        [TCEH] Official Committee Issues & Meet.                       59.80                          49,798.00
  0051        [TCEH] Plan/Disclosure Statements                         1,145.20                          1,016,978.50
  0052        [TCEH] Private Letter Ruling/IRS Issues                         9.50                            6,037.00
  0054        [TCEH] Retiree and Employee Issues/OPEB                        34.10                          23,615.50
  0057        [TCEH] Trading and Hedging Contracts                          328.70                         216,171.50
  0058        [TCEH] Transition Services                                     10.50                            6,984.00
  0059        [TCEH] U.S. Trustee Issues                                      4.80                            3,856.50
  0060        [TCEH] Utilities                                                8.80                            3,875.00


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   Matter                                                           Hours                   Total Compensation
                        Project Category Description
   Number                                                           Billed                        Billed
  0062         [TCEH] Vendor and Other Creditor Issues                   1,122.00                           681,768.00
  0065         [EFIH] Bond Issues                                             16.30                          14,727.00
  0066         [EFIH] Cash Collat./DIP Finan./Makewhole                  5,244.30                          4,531,286.00
  0067         [EFIH] Claims Administration & Objection                       28.40                          29,139.00
  0068         [EFIH] Contested Matters & Advers. Pro.                  12,269.00                          9,297,535.00
  0069         [EFIH] Corp. Governance and Sec. Issues                        57.60                          47,030.00
  0070         [EFIH] Hearings                                               281.30                         212,567.50
  0072         [EFIH] Non-K&E Retention & Fee Applicat.                       12.10                            8,087.00
  0073         [EFIH] Non-Working Travel                                     206.10                         172,250.00
  0074         [EFIH] Official Committee Issues & Meet.                       14.40                          10,673.00
  0075         [EFIH] Oncor                                                    1.10                           1,009.50
  0076         [EFIH] Plan / Disclosure Statement                        4,439.10                          4,080,886.50
  0077         [EFIH] Private Letter Ruling/IRS Issues                         3.10                           3,653.50
  0078         [EFIH] Rest. Support Agrmt./Global Sett.                       82.30                          45,943.50
  0082         [EFH] Asset Dispositions and Purchases                        102.50                          69,725.00
  0085         [EFH] Claims Administration & Objections                       47.80                          23,146.00
  0086         [EFH] Contested Matters & Advers. Proc.                       148.60                         119,083.00
  0087         [EFH] Corp. Governance and Sec. Issues                         21.10                          22,192.00
  0089         [EFH] EFH Properties                                          767.70                         507,516.00
  0090         [EFH] Hearings                                                  7.00                            8,020.00
  0092         [EFH] Non-Core Subs/Discontinued Op.                            2.00                            1,822.00
  0093         [EFH] Non-Debtor Affiliates                                     1.40                            1,022.00
  0094         [EFH] Non-K&E Retention & Fee Apps                              8.50                            5,991.50
  0095         [EFH] Non-Working Travel                                        8.30                            7,787.50
  0096         [EFH] Official Committee Issues & Meet.                       176.30                         118,117.00
  0097         [EFH] Oncor                                                     0.90                              823.50
  0101         [EFH] Retiree and Employee Issues/OPEB                         40.30                          34,649.50
  0106         [ALL] Venue                                                   526.10                         369,123.00
  0107         [ALL] Invoice Review                                          274.00                         139,628.00
  0108         [TCEH] Exec. Contracts & Unexpired Lease                  4,301.60                          2,758,208.00
  0113         [ALL] Enforcement of TTI Rights                           2,642.60                          1,789,567.00
  0114         [ALL] Drag Along Rights                                        31.60                          30,545.50
  0115         [TCEH] Exit Financing                                     3,924.40                          3,543,064.00
  0124         [ALL E-SIDE] Tax Calculations                                   3.60                            3,744.00

         36.       The following is a summary, by Matter Category, of the most significant

professional services provided by Kirkland during the Fee Period. This summary is organized in

accordance with Kirkland’s internal system of matter numbers.                         The detailed descriptions

demonstrate that Kirkland was heavily involved in performing services for the Debtors on a daily




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basis, often including night, weekend, and holiday work, to meet the needs of the Debtors’ estates

in these chapter 11 cases.

        37.        A schedule setting forth a description of the Matter Categories utilized in this case,

the number of hours expended by Kirkland partners, associates, and paraprofessionals by matter,

and the aggregate fees associated with each matter is attached hereto as Exhibit G. Exhibit H is

Kirkland’s budget and staffing plan for this Fee Period, which has been approved by the Debtors,

and Exhibit I is a comparison of hours and fees budgeted for each matter category to which

Kirkland professionals and paraprofessionals billed time during the Fee Period against the hours

and fees for which Kirkland seeks compensation for the Fee Period.

        38.        In addition, throughout the Fee Period, Kirkland filed its computerized records of

time expended providing professional services to the Debtors and their estates, and Kirkland’s

records of expenses incurred during the Fee Period in the rendition of professional services to the

Debtors and their estates. Consistent with communications with the Fee Committee, Kirkland

hereby incorporates into this Fee Application those computerized records previously filed in these

chapter 11 cases with previous Monthly Fee Statements and Interim Fee Applications.

                           (a)      Chapter 11 Bankruptcy Filing (Matter No. 2)13

                                    Total Fees:  $744,671.00
                                    Total Hours: 1,193.30

        39.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to the filing of, and seeking

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     Kirkland has filed twelve interim fee applications (the “Interim Fee Applications”) in these chapter 11 cases on
     account of costs and expenses incurred during the Fee Period. The matter descriptions contained herein
     represent a consolidated summary of the matter descriptions provided in the Interim Fee Applications, which
     each contain additional detail to support the costs and expenses incurred during the Fee Period.
     Capitalized terms used but not otherwise defined in the following matter descriptions shall have the meanings
     ascribed to such terms in the Interim Fee Applications.




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approval of, the Debtors’ various pleadings heard by the Bankruptcy Court regarding the Debtors’

“first” and “second” day operational relief. Specifically, Kirkland attorneys and paraprofessionals

spent time:

                   i.    revising proposed orders to and declarations in support of the Debtors’
                         first and second day pleadings, as well as responses to objections or
                         comments filed by various stakeholders to the first and second day
                         pleadings;

                ii.      discussing the Debtors’ motions and negotiating the Debtors’ proposed
                         orders with the U.S. Trustee, the TCEH Creditors’ Committee, and a
                         number of stakeholders to resolve various open issues in respect of the
                         Debtors’ first and second day pleadings;

               iii.      preparing for the hearings on the “first” and “second” day motions; and

               iv.       analyzing and researching a variety of issues related to first and second
                         day pleadings.

                         (b)    [ALL] Automatic Stay (Matter No. 3)

                                Total Fees:  $207,439.50
                                Total Hours: 353.30

        40.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to enforcement of the

automatic stay. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    responding to formal and informal inquiries from certain parties-in-interest
                         to lift the automatic stay;

                ii.      preparing, reviewing, and revising potential motions to extend the
                         automatic stay to parties-in-interest seeking relief from the same;

               iii.      drafting, revising, and researching pleadings responding to motions to lift
                         the stay; and

               iv.       performing legal research regarding the effects of the automatic stay on
                         certain rights of non-Debtor third parties with respect to actions involving,
                         or related to, the Debtors or their estates, including certain nonbankruptcy
                         litigation proceedings.




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                          (c)    [ALL] Bond Issues (Matter No. 4)

                                 Total Fees:  $13,978.00
                                 Total Hours: 23.60

        41.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period relating to issues regarding the Debtors’ bonds and the bonds’ respective indenture

trustees. Specifically, Kirkland attorneys spent time:

                   i.     drafting board consent approvals of tripartite agreements replacing
                          indenture trustees;

                ii.       terminating a remarketing agreement; and

               iii.       considering issues related to pollution control revenue bonds.

                          (d)    [ALL] Business Operations (Matter No. 5)

                                 Total Fees:  $96,651.00
                                 Total Hours: 118.60

        42.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the Debtors’ business operations. Specifically,

Kirkland attorneys and paraprofessionals spent time advising the Debtors’ management and other

advisors regarding processes to ensure uninterrupted operations and compliance with provisions

of the Bankruptcy Code and orders entered in these chapter 11 cases.

                          (e)    [ALL] Case Administration (Matter No. 6)

                                 Total Fees:  $1,202,442.50
                                 Total Hours: 2,357.50

        43.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period on a variety of tasks that were necessary for the smooth

and efficient administration of legal services related to the Debtors’ chapter 11 cases.

Specifically, Kirkland attorneys and paraprofessionals spent time:




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                   i.    administering, managing, and coordinating the chapter 11 cases by
                         monitoring critical dates and maintaining a case calendar, task lists, and
                         work-in-progress reports;

                ii.      monitoring the case docket and reviewing docket entries as they are filed
                         to apprise the Debtors, as well as certain professionals and creditors, of
                         developments in these chapter 11 cases; and

               iii.      preparing for and holding regular meetings and telephone conferences
                         with both the Kirkland internal restructuring team and other working
                         groups as well as the Debtors regarding the status of pending workstreams,
                         discovery issues, and database management.

                         (f)    [ALL] Cash Management (Matter No. 7)

                                Total Fees:  $103,513.50
                                Total Hours: 185.80

        44.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the Debtors’ cash management system.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    negotiating the Debtors’ requested relief regarding their cash management
                         system;

                ii.      preparing, reviewing, and replying to informal and formal objections to
                         the Debtors’ motion to continue operating their cash management system;
                         and

               iii.      advising the Debtors on their duties under the orders entered with respect
                         to their cash management system.

                         (g)    [ALL Claims Administration & Objections (Matter No. 8)

                                Total Fees:  $3,921,181.50
                                Total Hours: 5,965.40

        45.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the administration and resolution of claims filed

against the Debtors’ estates, the resolution of which may affect all of the Debtors’ estates.

Specifically, Kirkland attorneys and paraprofessionals spent time:



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                   i.    drafting and filing 43 omnibus objections against over 5,400 claims
                         asserting over $179 billion in claims, resulting in the disallowance,
                         modification or withdrawal of approximately 5,390 claims and nearly
                         complete disallowance or reduction to asserted amounts;

                ii.      analyzing and researching issues related to claims against the Debtors and
                         corresponding with parties-in-interest regarding the same;

               iii.      researching, drafting and revising the bar date motion and negotiating with
                         various stakeholders regarding the relief requested therein;

               iv.       drafting and filing a motion to establish a supplemental bar date and
                         response to an objection to the same;

                   v.    creating a schedule and protocol to adjudicate contested objections to the
                         claims filed by certain pro se claimants;

               vi.       creating and monitoring a claims telephone hotline and managing related
                         communications;

              vii.       coordinating responses to formal and informal inquiries from claimants
                         regarding the omnibus objections;

              viii.      researching, drafting, and revising pleadings responding to objections to
                         the bar date motion filed by potential asbestos claimants; and

               ix.       drafting and revising the Debtors’ motions for extensions to remove
                         certain civil claims to the Bankruptcy Court.

                         (h)    [ALL E-SIDE] Contested Matters & Adversary Proceedings
                                (Matter No. 9)

                                Total Fees:  $44,988,798.00
                                Total Hours: 70,008.40

        46.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to contested matters and

adversary proceedings. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    drafting, negotiating, and revising a stipulated confidentiality agreement,
                         discovery protocol, and protective order regarding discoverable documents
                         provided through the document production process;

                ii.      coordinating document review processes with third-party database vendors
                         to ensure an efficient document review process;


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               iii.     researching, drafting, and revising reply papers responding to objections
                        asserted regarding, among other motions, the Debtors’ motions to jointly
                        administer these chapter 11 cases and to extend the time to file the
                        Debtors’ statements of financial affairs and schedules of assets and
                        liabilities;

               iv.      identifying, collecting, and processing volumes of documents for review
                        and potential production; then analyzing and reviewing potentially
                        responsive documents that culminated in the production of approximately
                        940,990 documents and 6,669,787 pages of documents relating to
                        discovery requests;

                   v.   preparing for and attending 16 trials and evidentiary hearings, spanning 46
                        trial days and involving 62 witnesses, and several dozen non-evidentiary
                        hearings;

               vi.      conferencing with the Debtors, their advisors, and certain parties-in-
                        interest regarding the status of litigation matters, including the document
                        production process and discovery requests;

              vii.      preparing for and defending depositions of EFH/EFIH Debtors’
                        representatives and expert witnesses in preparation for approval of
                        multiple merger agreements;

             viii.      preparing for and participating in hearings and depositions related to
                        restructuring documents, including negotiating with objectors, developing
                        case strategy through daily internal discussions and consultation with the
                        Debtors and their advisors;

               ix.      drafting and revising a reply brief in an appeal of the TCEH Plan Support
                        Agreement, preparing and presenting oral argument to the district court,
                        and securing an order dismissing the same

                   x.   planning collection and processing of documents from the Debtors for
                        review and potential production in connection with multiple confirmation
                        processes;

               xi.      preparing and advising the Debtors and their professionals for
                        approximately 90 depositions with various parties-in-interest related to
                        issues that affect all of the Debtors;

              xii.      preparing and filing a response to the Elliott Creditors’ requested Fee
                        Committee appointment;

             xiii.      reviewing interested parties’ objections to confirmation of the EFH/EFIH
                        Plan, including objections related to asbestos issues and the Termination
                        Fee;


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              xiv.        analyzing and addressing issues related to the Oncor dividend settlement;

               xv.        preparing pleadings and witnesses regarding confirmation of the
                          EFH/EFIH Plan, and addressing confirmation-related issues; and

              xvi.        drafting materials and furthering litigation strategy regarding the NEE
                          Termination Fee appeal.

                          (i)    [ALL E-SIDE] Corporate and Securities Issues (Matter No. 10)

                                 Total Fees:  $13,801,113.00
                                 Total Hours: 15,994.60

        47.         This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to corporate governance issues involving the

Debtors, including their respective disinterested directors and managers. Specifically, Kirkland

attorneys and paraprofessionals spent time:

                   i.     negotiating, drafting, and revising materials (excluding confidentiality and
                          diligence materials) related to the potential auction process for the
                          economic interests in Oncor;

                ii.       negotiating, drafting, and revising multiple proposed merger agreements
                          and associated separation and transition services documents pertaining to
                          all of the Debtors;

               iii.       preparing for and participating in substantive negotiations with the
                          Debtors’ key stakeholders regarding the proposed terms of merger
                          transactions and related purchase agreements;

               iv.        reviewing bids received from strategic and third-party buyers for the
                          economic interests in Oncor;

                   v.     analyzing issues regarding closing matters and distributions under the
                          EFH/EFIH Plan and TCEH Plan;

               vi.        revising plan and disclosure statement filing resolutions;

              vii.        drafting dissolution documents and addressing related issues in
                          preparation for closing;

              viii.       preparing for, and participating in, joint meetings with all of the Debtors’
                          boards of directors regarding corporate and financial aspects of the chapter
                          11 process materials to update the Debtors’ boards regarding
                          developments in these chapter 11 cases; and

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               ix.        analyzing issues and preparing documents regarding Hart-Scott-Rodino
                          filings.

                          (j)    [ALL E-SIDE]           Exec.   Contracts      &   Unexpired   Leases
                                 (Matter No. 11)

                                 Total Fees:  $659,404.50
                                 Total Hours: 1,085.10

        48.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period examining issues related to the Debtors’ executory contracts and unexpired leases.

Specifically, Kirkland attorneys spent time:

                   i.     drafting and revising lease rejection procedures;

                ii.       analyzing and researching the Debtors’ obligations under various
                          executory contracts;

               iii.       analyzing the Debtors’ obligations under outstanding executory contracts
                          and leases; and

               iv.        communicating with outside parties, as well as the Debtors and their
                          advisors, regarding contract assumption and rejection issues.

                          (k)    [ALL E-SIDE] Hearings (Matter No. 12)

                                 Total Fees:  $3,372,002.00
                                 Total Hours: 4,380.80

        49.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period preparing for and attending hearings and related

scheduling conferences. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.     preparing for and attending hearings regarding the Debtors’ requests for an
                          extension of the Debtors’ exclusivity period, motion for the partial
                          repayment of EFIH second lien notes, motions to reject certain executory
                          contracts, and the EFIH First Lien Makewhole litigation trial;

                ii.       telephonic hearings regarding certain discovery and deposition disputes in
                          connection with, among other things, the EFH/EFIH Plan and EFH/EFIH
                          Disclosure Statement;

               iii.       preparing for and attending hearings to approve the EFH/EFIH Disclosure
                          Statement;

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               iv.       preparing for and attending confirmation hearings;

                   v.    preparing for and attending hearings to approve the Sempra Merger
                         Agreement and BHE Merger Agreement;

               vi.       preparing for and attending a hearing regarding a motion to adjourn a
                         hearing to approve the BHE Merger Agreement;

              vii.       preparing for and attending a hearing regarding Elliott’s motion for
                         reconsideration, motion to intervene, and motion seeking derivative
                         standing; and

              viii.      preparing for and attending a status conference hearing regarding the NEE
                         Termination Fee adversary proceeding.

                         (l)    [ALL] Insurance (Matter No. 13)

                                Total Fees:  $32,744.50
                                Total Hours: 65.20

        50.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period analyzing insurance policies and ensuring the Debtors

maintain sufficient coverage as required by chapter 11 operating guidelines.          Specifically,

Kirkland attorneys and paraprofessionals spent time:

                   i.    researching and analyzing the implications of assuming certain insurance
                         contracts; and

                ii.      ensuring that the Debtors’ insurance policies complied with orders
                         governing the debtor-in-possession financing facilities available to TCEH
                         and EFIH.

                         (m)    [ALL E-SIDE] Kirkland Retention and Fee Applications
                                (Matter No. 14)

                                Total Fees:  $5,643,674.50
                                Total Hours: 10,610.40

        51.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to Kirkland’s retention and fee

materials for the Debtors. Specifically, Kirkland attorneys and paraprofessionals spent time:



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                   i.    reviewing and revising invoices regarding privilege and compliance with
                         applicable guidelines and rules;

                ii.      conducting, reviewing, and analyzing conflicts reports for any potential
                         conflicts of interest; and

               iii.      preparing Kirkland’s twelve interim fee applications.

                         (n)    [ALL] Mediation (Matter No. 15)

                                Total Fees:  $1,634.00
                                Total Hours: 2.60

        52.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period drafting a joint mediation statement, negotiating non-

disclosure agreements and analyzing diligence requests.

                         (o)    [ALL] Non-Debtor Affiliates (Matter No. 16)

                                Total Fees:  $49,236.50
                                Total Hours: 94.00

        53.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period relating to certain of the Debtors’ non-Debtor affiliates

(excluding Oncor). Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    analyzing issues regarding the potential sale of certain de Minimis assets
                         owned by such non-Debtor affiliates;

                ii.      researching and analyzing issues related to Bankruptcy Rule 2015.3;

               iii.      reviewing and analyzing a sale proceeds stipulation and advising the
                         Company regarding the same; and

               iv.       drafting and revising pleadings related to Bankruptcy Rule 2015.3.




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                           (p)    [ALL E-SIDE] Non-Kirkland Retentions and Fee Applications
                                  (Matter No. 17)

                                  Total Fees:  $1,408,943.00
                                  Total Hours: 2,255.70

        54.         This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to the retention of

professionals other than Kirkland. Specifically, Kirkland attorneys and paraprofessionals spent

time:

                   i.      providing bankruptcy advice in connection with professional engagement
                           letters;

                ii.        revising certain     ordinary     course   professionals’   declarations   of
                           disinterestedness;

               iii.        corresponding with the Debtors’ professionals regarding, among other
                           things, supplemental declarations, the scope of the professionals’ services,
                           budgeting, projected post-EFH Effective Date fees, funding of a
                           professional fee escrow account, and the interim compensation process;

               iv.         updating the schedule of ordinary course professionals;

                   v.      analyzing and drafting retention papers for a financial advisor in
                           connection with a potential strategic transaction; and

               vi.         facilitating the Debtors’ retention of various professionals other than
                           Kirkland.

                           (q)    [ALL E-SIDE] Non-Working Travel (Matter No. 18)

                                  Total Fees:  $2,809,010.00
                                  Total Hours: 3,261.20

        55.         This Matter Category includes non-working travel time spent by Kirkland

attorneys and paraprofessionals during the Fee Period in connection with their representation of

the Debtors. The amounts requested in the Fee Application reflect a reduction of one-half of the

charges for travel time not spent working on matters related to these chapter 11 cases.




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                         (r)    [ALL] Official Committee Issues & Meetings (Matter No. 19)

                                Total Fees:  $221,436.00
                                Total Hours: 288.50

        56.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period communicating with, and addressing issues raised by

both Official Committees. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    preparing for and attending multiple in-person and telephonic meetings
                         with the Official Committees and their advisors regarding a host of
                         diligence issues related to the Debtors’ operational, financial, and
                         restructuring initiatives; and

                ii.      discussing and negotiating the relief requested by the Debtors in various
                         pleadings.

                         (s)    [ALL E-SIDE] Plan and Disclosure Statements (Matter No. 21)

                                Total Fees:  $35,235,188.50
                                Total Hours: 40,084.80

        57.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to developing a plan of

reorganization and related disclosure statement in connection with these chapter 11 cases.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    negotiating with the Debtors’ key stakeholders regarding the terms of
                         proposed plans and disclosure statements;

                ii.      drafting motions to approve disclosure statements and establish procedures
                         for the solicitation of acceptances of various proposed plans;

               iii.      drafting and revising documents for solicitation and other voting and
                         balloting materials in connection with the solicitation of votes on multiple
                         proposed plans;

               iv.       drafting, revising, and negotiating bidding procedures related to the
                         proposed sale of the economic interests in Oncor;

                   v.    drafting, revising, and negotiating motions and bridge orders to extend the
                         Debtors’ exclusive periods to file and solicit votes for plans pursuant to
                         section 1121(d) of the Bankruptcy Code;

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               vi.      researching, drafting, reviewing, and revising a term sheet, an initial plan
                        of reorganization and near global term sheet, as well as related
                        amendments, exhibits, and consents as well as preparing disclosure
                        statement and addressing factual and legal issues regarding the same;

              vii.      communicating and coordinating with the Debtors’ other advisors
                        regarding the terms of various plans and term sheet as well as open issues
                        pertaining to the same and disclosure statements;

             viii.      negotiating confidentiality agreements and attending meetings with
                        various parties-in-interest, including strategic and third-party bidders for
                        the economic interests in Oncor;

               ix.      communicating with the disinterested directors’ advisors of each of EFH,
                        EFIH, and EFCH/TCEH regarding various restructuring documents;

                   x.   analyzing the regulatory approval process related to the transactions
                        contemplated by various potential plans;

               xi.      compiling various “funds flow” analysis regarding the allocation of
                        consideration on the EFH Effective Date;

              xii.      developing the terms of the Oncor/TSA Settlement Agreement and
                        corresponding with parties in interest regarding such terms;

             xiii.      addressing and analyzing issues related to the EFH/EFIH Allocation
                        Dispute;

             xiv.       revising the EFH/EFIH Plan with respect to the administration of the NEE
                        Termination Fee;

              xv.       drafting the Sempra Confirmation Brief;

             xvi.       corresponding with counsel to Sempra to facilitate preparation of the
                        Amended Plan Supplement;

            xvii.       researching, drafting, and filing memorandums of law in support of
                        confirmation and in response to EFH/EFIH Plan objections;

           xviii.       planning closing procedures and process steps regarding the closing of the
                        Sempra Merger Agreement and the EFH/EFIH Debtors’ emergence from
                        bankruptcy; and

             xix.       communicating and coordinating with the EFH/EFIH Debtors and their
                        other advisors regarding consummation of the transactions contemplated
                        by the Plan.



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                          (t)    [ALL] Private Letter Ruling/IRS Matters (Matter No. 22)

                                 Total Fees:  $251,119.50
                                 Total Hours: 216.20

        58.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period (a) preparing submissions to, and conferencing with, representatives from the Internal

Revenue Service regarding, among other things, additional diligence requests concerning the

Debtors’ private letter ruling request, and (b) developing and drafting a responsive memorandum

regarding the same.

                          (u)    [ALL] Regulatory Issues (Matter No. 23)

                                 Total Fees:  $102,766.50
                                 Total Hours: 156.40

        59.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to various regulatory issues.           Specifically,

Kirkland attorneys and paraprofessionals spent time:

                   i.     reviewing and revising EFH/EFIH Hart-Scott Rodino filings;

                ii.       analyzing regulatory issues and considerations related to the EFH/EFIH
                          Plan; and

               iii.       coordinating with various regulatory bodies regarding various items,
                          including proposed restructuring plan approvals and guidance in
                          connection with contemplated transactions.

                          (v)    [ALL] Rest. Support Agrmt./Global Settlement (Matter No. 24)

                                 Total Fees:  $1,014,782.00
                                 Total Hours: 1,467.60

        60.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period relating to:

                   i.     drafting various amendments to an initial restructuring support agreement;

                ii.       drafting, researching, and negotiating a motion to assume the initial
                          restructuring support agreement and supporting declarations;

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               iii.      engaging in discussions with other parties-in-interest regarding the
                         transactions contemplated in the initial restructuring support agreement;
                         and

               iv.       researching, reviewing, and analyzing management composition and
                         corporate governance issues.

                         (w)    [ALL] Retiree and Employee Issues (Matter No. 26)

                                Total Fees:  $4,883,829.50
                                Total Hours: 6,356.70

        61.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to various issues concerning

the Debtors’ retirees and employees. Specifically, Kirkland attorneys and paraprofessionals spent

time:

                   i.    analyzing, in consultation with the Debtors, certain of the Debtors’ retiree
                         and employee compensation and benefit obligations;

                ii.      preparing for and attending multiple meetings with the U.S. Trustee as
                         well as a two-day hearing in connection with employee compensation for
                         2014;

               iii.      identifying, researching, and analyzing employee benefit issues related to
                         the merger agreement and transition service considerations, including the
                         retention and assumption of various employee benefit and retention
                         programs;

               iv.       drafting, revising, and researching pleadings and supporting declarations
                         relating to non-qualified benefits, non-insider compensation, and insider
                         compensation;

                   v.    drafting, revising, and researching pleadings in connection with separating
                         the Debtors’ 401(k) plan;

               vi.       assisting the Debtors in negotiations with interested parties regarding the
                         relief described above; and

              vii.       providing diligence related to the relief described above to numerous
                         creditor constituencies.




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                         (x)    [ALL] Schedules/SOFAs (Matter No. 27)

                                Total Fees:  $224,870.50
                                Total Hours: 338.10

        62.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period assisting the Debtors, Alvarez & Marsal North America,

LLC, and other advisors in connection with the preparation and filing of amendments to the

Debtors’ schedule of assets and liabilities, statements of financial affairs, and accompanying

explanatory notes.

                         (y)    [ALL] Shared Services (Matter No. 28)

                                Total Fees:  $8,745.50
                                Total Hours: 13.60

        63.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period in connection with advising the Debtors and educating

the disinterested directors’ advisors regarding certain issues related to the Company’s shared

services agreements.

                         (z)    [ALL] Tax Issues (Matter No. 29)

                                Total Fees:  $12,657,117.50
                                Total Hours: 12,202.20

        64.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period preparing correspondence, submissions, and disclosures,

and generally advising the Debtors in connection with tax issues. Specifically, Kirkland attorneys

and paraprofessionals spent time:

                   i.    researching and analyzing potential issues associated with a REIT
                         reorganization structure;

               ii.       researching and analyzing certain tax issues arising in connection with the
                         Debtors’ business operations and proposed transactions;


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               iii.        preparing confirmation hearing testimony regarding certain tax-related
                           issues;

               iv.         addressing and responding to inquiries from various parties-in-interest
                           regarding diligence related to various tax considerations;

                   v.      preparing submissions to the IRS in connection with the Debtors’ tax
                           obligations;

               vi.         addressing disputes regarding tax sharing and earnings and profits issues;

              vii.         negotiating, drafting and revising the Tax Matters Agreement; and

              viii.        preparing a tax opinion letter and analyzing the tax aspects of closing
                           matters.

                           (aa)   [ALL] U.S. Trustee Issues (Matter No. 30)

                                  Total Fees:  $58,653.50
                                  Total Hours: 79.30

        65.        This Matter Category includes the services provided by Kirkland attorneys during

the Fee Period related to negotiations and correspondence with the U.S. Trustee. Specifically,

Kirkland attorneys spent time:

                   i.      reviewing and revising the Debtors’ monthly operating reports to comply
                           with U.S. Trustee guidelines;

                ii.        responding to inquiries and document requests from the U.S. Trustee and
                           discussing the same with members of the Debtors’ management team;

               iii.        engaging in multiple telephonic and in-person meetings with the U.S.
                           Trustee regarding the relief requested in the Debtors’ pleadings; and

               iv.         corresponding and conferencing with the U.S. Trustee regarding
                           comments and revisions to the Debtors’ pleadings and in order to develop
                           consensus on requested changes.




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                           (bb)   [ALL] Valuation (Matter No. 32)

                                  Total Fees:  $2,721,956.00
                                  Total Hours: 4,523.90

         66.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period relating to the issues surrounding the valuation of the Debtors. Specifically, Kirkland

attorneys spent time:

                    i.     researching valuation methodologies;

                 ii.       identifying, collecting, and processing numerous documents for review
                           and potential production;

                iii.       analyzing and reviewing documents in response to creditors’ diligence
                           requests; and

                iv.        analyzing, in consultation with the Debtors and the Debtors’ other
                           professionals, valuation issues and litigation strategies.

                           (cc)   [ALL] Vendor and Other Creditor Issues (Matter No. 33)

                                  Total Fees:  $139,107.00
                                  Total Hours: 449.90

         67.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period related to discrete issues surrounding vendors who provide services to the Debtors, as well

as creditor inquiries.

                           (dd)   [TCEH] Asset Dispositions and Purchases (Matter No. 34)

                                  Total Fees:  $624,505.50
                                  Total Hours: 927.00

         68.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period rendering services relating to the disposition, investment,

or purchase of assets by the TCEH Debtors.                  Specifically, Kirkland attorneys and

paraprofessionals spent time:




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                   i.      representing the Debtors in negotiations with parties-in-interest regarding
                           the terms and conditions of certain de minimis acquisitions and analyzing
                           diligence regarding the same;

                ii.        reviewing, researching, and drafting pleadings related to investment and
                           purchase procedures for certain assets; and

               iii.        analyzing certain potential transactions and drafting and revising
                           documents regarding the same.

                           (ee)   [TCEH] Automatic Stay (Matter No. 35)

                                  Total Fees:  $235,791.50
                                  Total Hours: 392.70

        69.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to enforcing the automatic stay

as it affects TCEH Debtors. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.      responding to formal and informal inquiries from certain parties-in-interest
                           to lift the automatic stay;

                ii.        preparing, reviewing, and revising potential motions to extend the
                           automatic stay to parties-in-interest seeking relief from the same;

               iii.        drafting, revising, and researching reply papers responding to motions to
                           lift the stay;

               iv.         negotiating a stipulation regarding a limited modification of the automatic
                           stay; and

                   v.      performing legal research regarding the effects of the automatic stay on
                           certain rights on non-Debtor third parties with respect to actions involving,
                           or related to, the TCEH Debtors or their estates, including certain non-
                           bankruptcy related litigation proceedings.

                           (ff)   [TCEH] Bond Issues (Matter No. 36)

                                  Total Fees:  $31,175.50
                                  Total Hours: 55.50

        70.        This Matter Category includes the services provided by Kirkland attorneys related

to analyzing and implementing certain tripartite agreements, including trustee successions,



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analyzing the potential replacement of the collateral agent under the TCEH second lien debt

documents.

                          (gg)   [TCEH] Business Operations (Matter No. 37)

                                 Total Fees:  $260,489.50
                                 Total Hours: 427.60

        71.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period related to the business operations of the TCEH Debtors, including:

                   i.     strategizing with the TCEH Debtors’ management and other advisors
                          regarding processes to ensure uninterrupted operations and compliance
                          with provisions of the Bankruptcy Code and orders entered in these
                          chapter 11 cases;

                ii.       preparing for and participating in weekly meetings with the TCEH
                          Debtors’ business units;

               iii.       drafting and revising a motion allowing certain Debtors to enter into a
                          long-term power purchase agreement and drafting and revising a motion
                          allowing the Debtors to file the power purchase agreement under seal; and

               iv.        addressing compliance issues concerning the TCEH Debtors’ business
                          operations in connection with, among other things, adhering to certain
                          relief authorized by the Court.

                          (hh)   [TCEH] Cash Collateral and DIP Financing (Matter No. 38)

                                 Total Fees:  $853,966.50
                                 Total Hours: 1,127.10

        72.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period relating to the TCEH Debtors’ efforts to amend the DIP

facility available to TCEH and implement the procedures established in the Court’s order

regarding the use of cash collateral by TCEH.               Specifically, Kirkland attorneys and

paraprofessionals spent time:

                   i.     analyzing issues and advising the TCEH Debtors and their other
                          professionals regarding payments and the use and invoicing of cash
                          collateral under the TCEH Cash Collateral Order;

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                ii.      analyzing and reviewing letter of credit issues;

               iii.      drafting, revising, and negotiating a stipulation extending the challenge
                         period under the TCEH Cash Collateral Order; and

               iv.       negotiating, drafting, reviewing, and revising an amendment to the DIP
                         credit agreement and corresponding with the U.S. Trustee and counsel to
                         the DIP facility arrangers regarding related repricing issues.

                         (ii)   [TCEH] Claims Administration and Objections (Matter No.
                                39)

                                Total Fees:  $1,249,086.50
                                Total Hours: 2,006.50

        73.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the administration and resolution of claims

against the TCEH Debtors’ estates, including:

                   i.    corresponding with various parties regarding claims and claims
                         stipulations;

                ii.      reviewing and drafting documents related to potential environmental
                         claims; and

               iii.      reviewing and revising settlement agreements and related materials and
                         contract amendments.

                         (jj)   [TCEH] Contested Matters & Adv. Pro. (Matter No. 40)

                                Total Fees:  $7,200,039.50
                                Total Hours: 10,060.70

        74.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to motions and contested

hearings pertaining to the TCEH Debtors. Specifically, Kirkland attorneys and paraprofessionals

spent time:

                   i.    negotiating with, and resolving issues raised by various stakeholders of the
                         TCEH Debtors with respect to the Debtors’ first and second day
                         pleadings;

                ii.      researching and preparing pleadings in connection with the same;

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               iii.       drafting and revising responses to Bankruptcy Rule 2004 discovery
                          motions filed by the TCEH creditors;

               iv.        identifying, collecting, and processing volumes of documents for review
                          and potential production;

                   v.     coordinating, preparing, and advising the TCEH Debtors’ officers and
                          professionals for depositions and meetings;

               vi.        analyzing and reviewing potentially responsive documents for production
                          with respect to discovery requests from TCEH creditors;

              vii.        researching, drafting, and revising responses to motions filed by the
                          Official Committees and certain TCEH creditors; and

              viii.       performing legal research, drafting briefs, and preparing for the six-day
                          TCEH Confirmation Hearing.

                          (kk)   [TCEH] Corp. Governance and Sec. Issues (Matter No. 41)

                                 Total Fees:  $21,909.00
                                 Total Hours: 23.10

        75.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period related to corporate governance issues involving the TCEH Debtors.                 Specifically,

Kirkland attorneys spent time:

                   i.     preparing and revising various Hart-Scott Rodino filings; and

                ii.       presenting to the TCEH board of managers on various issues regarding
                          these chapter 11 cases, including the plan process and governance issues.

                          (ll)   [TCEH] Environmental Issues (Matter No. 42)

                                 Total Fees:  $468,939.50
                                 Total Hours: 541.00

        76.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period analyzing and addressing certain environmental compliance issues, including potential

environmental liabilities, litigation matters, options contracts, insurance options, and the

dischargeability of environmental claims against the TCEH Debtors.



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                          (mm) [TCEH] Hearings (Matter No. 43)

                                 Total Fees:  $512,664.50
                                 Total Hours: 773.40

        77.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to preparing for and attending

various omnibus hearings on matters primarily relating to the TCEH Debtors, including:

                   i.     a hearing to consider approval of the TCEH Disclosure Statement;

                ii.       two pre-trial conferences regarding the TCEH Confirmation Hearing; and

               iii.       the six-day hearing to consider confirmation of the TCEH Plan.

                          (nn)   [TCEH] Non-Debtor Affiliates (Matter No. 46)

                                 Total Fees:  $133,021.50
                                 Total Hours: 232.40

        78.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period advising certain of the TCEH Debtors’ non-debtor affiliates (excluding Oncor).

Specifically, Kirkland attorneys spent time:

                   i.     recommending resolutions to issues related to non-debtor land sale
                          stipulations and amendments to certain joint venture agreements,
                          including the Comanche Peak joint venture agreement; and

                ii.       analyzing issues related to non-debtor land sale stipulations, plant expense
                          authorization, and the Comanche Peak quarterly report.

                          (oo)   [TCEH] Non-K&E Retention & Fee Apps (Matter No. 47)

                                 Total Fees:  $21,667.00
                                 Total Hours: 30.80

        79.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to ensuring the retention of the TCEH Debtors’

professionals, other than Kirkland, in these chapter 11 cases.




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                          (pp)   [TCEH] Non-Working Travel (Matter No. 48)

                                 Total Fees:  $183,619.50
                                 Total Hours: 222.10

        80.        This Matter Category includes non-working travel time spent by Kirkland

attorneys during the Fee Period in connection with their representation of the TCEH Debtors.

The amounts requested in the Fee Application reflect a reduction of one-half of the charges for

travel time not spent working on matters related to these chapter 11 cases.

                          (qq)   [TCEH] Official Committee Issues & Meetings (Matter No. 49)

                                 Total Fees:  $49,798.00
                                 Total Hours: 59.80

        81.        This Matter Category include time spent by Kirkland attorneys and

paraprofessionals during the Fee Period in connection with, and addressing issues related to, the

TCEH Debtors raised by the TCEH Creditors’ Committee, including various diligence and

restructuring issues.

                          (rr)   [TCEH] Plan/Disclosure Statements (Matter No. 51)

                                 Total Fees:  $1,016,978.50
                                 Total Hours: 1,145.20

        82.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period regarding plan issues affecting the TCEH Debtors.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.     negotiating, drafting, and revising the TCEH Plan and TCEH Disclosure
                          Statement and related solicitation materials;

                ii.       communicating and coordinating with the Debtors, their other advisors,
                          the disinterested directors, and creditor constituencies regarding
                          confirmation of the TCEH Plan;

               iii.       analyzing and responding to various objections to the TCEH Plan;

               iv.        researching and drafting briefing related to the TCEH Confirmation
                          Hearing and preparing witnesses and oral arguments for the same;
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                   v.     negotiating, drafting, and filing the TCEH Plan Supplement and
                          amendments thereto;

               vi.        analyzing asbestos-related issues; and

              vii.        analyzing issues and drafting documents related to consummation of the
                          TCEH Plan.

                          (ss)   [TCEH] Private Letter Ruling/IRS Issues (Matter No. 52)

                                 Total Fees:  $6,037.00
                                 Total Hours: 9.50

        83.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period conducting legal research regarding property tax claims related to TCEH properties,

negotiating settlements related to property tax claims, and analyzing the complex tax

considerations associated with the Debtors’ proposed restructuring with the TCEH creditors.

                          (tt)   [TCEH] Retiree and Employee Issues/OPEB (Matter No. 54)

                                 Total Fees:  $23,615.50
                                 Total Hours: 34.10

        84.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period providing services related to various issues concerning the retirees and employees of the

TCEH Debtors and EFH Shared Services Debtors, including drafting, analyzing, and

corresponding with the Debtors regarding employee arrangements.

                          (uu)   [TCEH] Trading and Hedging Contracts (Matter No. 57)

                                 Total Fees:  $216,171.50
                                 Total Hours: 328.70

        85.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to analyzing and responding to issues concerning

the hedging and trading activities of the TCEH Debtors. Specifically, Kirkland attorneys and

paraprofessionals spent time:



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                   i.     negotiating with opposing counsel regarding liquidation of terminated
                          hedging and trading agreements;

                ii.       diligencing requests for additional, limited non-proprietary hedging and
                          trading relief;

               iii.       drafting, reviewing, and revising a motion to enter into certain non-
                          proprietary hedging and trading arrangements;

               iv.        negotiating relief in the hedging and trading motion with the U.S. Trustee,
                          TCEH Committee, and other parties-in-interest; and

                   v.     discussing reports issued under the hedging and trading order with
                          professionals for various stakeholders.

                          (vv)   [TCEH] Transition Services (Matter No. 58)

                                 Total Fees:  $6,984.00
                                 Total Hours: 10.50

        86.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period relating to electricity transmission and distribution

service-provider agreements.

                          (ww) [TCEH] U.S. Trustee Issues (Matter No. 59)

                                 Total Fees:  $3,856.50
                                 Total Hours: 4.80

        87.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period conferring with the U.S. Trustee regarding issues related specifically to the TCEH

Debtors. Specifically, Kirkland attorneys spent time conferring with the U.S. Trustee regarding

comments to second day motions and monthly operating reports for the TCEH Debtors.




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                         (xx)    [TCEH] Utilities (Matter No. 60)

                                 Total Fees:  $3,875.00
                                 Total Hours: 8.80

        88.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to utility providers for the TCEH Debtors.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    corresponding with utility providers regarding notice;

                ii.      researching issues surrounding adequate assurance; and

               iii.      revising the utilities order [D.I. 800].

                         (yy)    [TCEH] Vendor and Other Creditor Issues (Matter No. 62)

                                 Total Fees:  $681,768.00
                                 Total Hours: 1,122.00

        89.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals related to addressing issues involving certain of the TCEH Debtors’ vendors

and suppliers. Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.    addressing correspondence from the TCEH Debtors’ vendors and inquiries
                         related to potential liens and reclamation and other claims;

                ii.      researching, conferring and corresponding with vendors regarding such
                         inquiries;

               iii.      reviewing vendor and other creditor contracts;

               iv.       drafting and revising vendor agreements, reclamation letters, and other
                         responses to vendor communications;

                   v.    analyzing, in consultation with the TCEH Debtors and their other
                         professionals, the critical vendor status of certain vendors.

               vi.       negotiating a claim settlement with ADA Carbon Solutions and revising
                         the order regarding the same;

              vii.       negotiating resolutions to vendor issues, including the Holt Settlement;
                         and


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              viii.        researching, drafting, and revising and reviewing pleadings regarding
                           vendor issues, including the Holt Settlement.

                           (zz)   [EFIH] Bond Issues (Matter No. 65)

                                  Total Fees:  $14,727.00
                                  Total Hours: 16.30

        90.         This Matter Category includes time spent by Kirkland attorneys during the Fee

Period related to issues regarding the EFIH Debtors’ bonds and the bonds’ respective indenture

trustees. Specifically, Kirkland attorneys spent time analyzing and corresponding regarding an

indenture trustee’s motion to pay certain fees and expenses.

                           (aaa) [EFIH] Cash Collateral / DIP Financing / Make-whole Issues
                                 (Matter No. 66)

                                  Total Fees:  $4,531,286.00
                                  Total Hours: 5,244.30

        91.         This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to EFIH financing issues.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.      negotiating and resolving substantially all issues, concerns, and objections
                           of interested parties related to the EFIH Debtors’ motion for authority to
                           enter into the EFIH First Lien DIP Facility, and obtaining final approval of
                           the EFIH First Lien DIP Facility;

                ii.        assisting the EFIH Debtors and their other advisors in closing the EFIH
                           First Lien DIP Facility and EFIH First Lien Makewhole Settlement;

               iii.        reviewing, analyzing, and negotiating the terms and conditions of
                           proposed alternatives to the EFIH Second Lien DIP Facility;

               iv.         advising the Debtors’ management and boards regarding the proposed
                           alternative facilities and drafting supporting materials and analyses;

                   v.      drafting, revising, and researching offering memoranda, legal opinions,
                           and other documents related to the proposed EFIH Second Lien DIP
                           Facility and EFIH Second Lien Makewhole Settlement;

               vi.         coordinating, and participating in, numerous conferences with the EFIH
                           Debtors, the Debtors’ other professionals, and the Debtors’ stakeholders

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                        regarding the EFIH First Lien DIP Facility, EFIH First Lien Makewhole
                        Settlement, EFIH Second Lien DIP Facility, and EFIH Second Lien
                        Makewhole Settlement;

              vii.      assisting the EFIH Debtors and their other advisors in analyzing
                        alternative means of reducing postpetition interest expense or the accrual
                        of postpetition interest claims;

             viii.      researching legal issues and reviewing proposals related to these EFIH
                        financing and repayment alternatives;

               ix.      drafting, reviewing, and revising board presentations summarizing these
                        alternatives and the corresponding research and analysis;

                   x.   drafting and revising a motion and order regarding partial repayment of
                        second lien notes;

               xi.      drafting and revising a reply to objections to such partial repayment;

              xii.      negotiating an amendment to the EFIH DIP financing to facilitate such
                        partial repayment;

             xiii.      reviewing the second lien EFIH DIP proposal;

             xiv.       drafting and filing the letter regarding the PIK makewhole objection;

              xv.       analyzing EFIH financing options, including a proposal for a potential DIP
                        extension;

             xvi.       meeting with lenders and corresponding with the Company regarding the
                        same;

            xvii.       negotiating an EFIH DIP refinancing and extension and preparing a
                        motion to obtain court approval of the same;

           xviii.       communicating and coordinating with the EFIH Debtors and their other
                        advisors regarding the EFIH DIP refinancing and extension;

             xix.       analyzing issues regarding the makewhole claims litigation against the
                        EFIH Debtors’ estates;

              xx.       communicating and coordinating with the EFIH Debtors and their other
                        advisors regarding the PUCT Order and liquidity projections;

             xxi.       drafting and filing the EFIH First Lien DIP Motion;

            xxii.       negotiating with counsel to lenders and preparing documentation
                        regarding terms of the amendment to the EFIH First Lien DIP Credit
                        Agreement; and
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              xxiii.     analyzing compliance issues related to terms of DIP financing.

                         (bbb) [EFIH] Claims Administration and Objections (Matter No. 67)

                                 Total Fees:  $29,139.00
                                 Total Hours: 28.40

        92.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services relating to the administration and

resolution of potential claims against the EFIH Debtors’ estate. Specifically, Kirkland attorneys

and paraprofessionals spent time:

                   i.    coordinating and participating in conferences with the EFH Creditors’
                         Committee;

                 ii.     researching and drafting responses to demand letters sent by EFIH
                         creditors and to other creditor inquiries; and

                iii.     addressing issues related to the resolution and litigation of the makewhole
                         claims against the EFIH Debtors’ estates.

                         (ccc)   [EFIH] Contested Matters and Adversary Proceedings (Matter
                                 No. 68)

                                 Total Fees:  $9,297,535.00
                                 Total Hours: 12,269.00

        93.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the EFIH Debtors’ contested matters and

adversary      proceedings   with   EFIH   creditors.      Specifically,   Kirkland   attorneys   and

paraprofessionals spent time:

                   i.    drafting, revising, and researching responses to objections to the EFIH
                         First Lien DIP Facility, EFIH First Lien Makewhole Settlement, EFIH
                         Second Lien DIP Facility, and EFIH Second Lien Makewhole Settlement;

                 ii.     preparing for, attending, and conducting depositions and preparing
                         witnesses related to objections regarding the same;

                iii.     drafting, revising, and researching opposition to the EFIH First Lien
                         Makewhole Settlement appeal;


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               iv.      identifying, collecting, and processing volumes of documents for review
                        and potential production; then analyzing and reviewing potentially
                        responsive documents;

                   v.   reviewing and responding to EFIH creditors’ and sponsors’ discovery
                        requests;

               vi.      analyzing, in consultation with the EFIH Debtors and the EFIH Debtors’
                        other professionals, discovery requests and other filings related to
                        discovery;

              vii.      researching, drafting, and revising pleadings associated with the EFIH
                        First and Second Lien makewhole litigations;

             viii.      preparing for and participating in oral arguments associated with these
                        litigations;

               ix.      drafting and revising the joint pre-trial memorandum; and in preparation
                        for the EFIH First Lien makewhole summary judgment and lift stay
                        proceedings;

                   x.   researching, drafting, and revising materials in preparation for EFIH PIK
                        motion to dismiss hearing;

               xi.      securing the denial of the EFIH first and second liens’ claim for a
                        makewhole premium;

              xii.      analyzing an appeal of the same to the Third Circuit and drafting a
                        response brief;

             xiii.      negotiating and entering into a settlement with the EFIH PIK holders;

             xiv.       analyzing and reviewing briefs in preparation for oral argument in the
                        makewhole litigation before the Third Circuit;

              xv.       analyzing the Makewhole Opinion and revising and drafting petition for
                        rehearing;

             xvi.       analyzing makewhole litigation in connection with the EFIH Settlement
                        and communicating with the Debtors and creditor constituencies regarding
                        the appeal of the Makewhole Opinion;

            xvii.       reviewing and analyzing potential complications surrounding failure to
                        effectuate the EFIH Settlement;

           xviii.       drafting a status report and stipulation of dismissal regarding the
                        makewhole litigation;


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              xix.        analyzing litigation and related issues in connection with a preliminary
                          injunction motion;

               xx.        drafting and analyzing      discovery-related   correspondence   to   the
                          Bankruptcy Court;

              xxi.        analyzing litigation and related issues in connection with the NEE
                          Termination Fee dispute; and

              xxii.       drafting and analyzing correspondence related to the stay of PIK
                          makewhole-related litigation.

                          (ddd) [EFIH] Corp. Governance and Sec. Issues (Matter No. 69)

                                  Total Fees:  $47,030.00
                                  Total Hours: 57.60

        94.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period related to corporate governance issues involving the EFIH Debtors. Specifically, Kirkland

attorneys and paraprofessionals spent time:

                   i.     analyzing various governance issues in connection with the November 3,
                          2014 bidding procedures ruling, EFIH repayment, and related governance
                          issues;

                ii.       preparing presentations to the board of managers of EFH Corp. regarding
                          recommended courses of action in light of the same governance issues;

               iii.       attending board meetings of the EFIH Debtors;

                iv.       analyzing and reviewing equity award agreements and communicating
                          with the EFIH Debtors, their advisors, and the disinterested directors
                          regarding the same; and

                   v.     analyzing and revising executive compensation and employment
                          agreements and communicating with the EFIH Debtors and their advisors
                          regarding the same.

                          (eee)   [EFIH] Hearings (Matter No. 70)

                                  Total Fees:  $212,567.50
                                  Total Hours: 281.30

        95.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period preparing for, and attending the hearings on the EFIH

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First Lien DIP Facility, EFIH First Lien Makewhole Settlement, EFIH Second Lien DIP Facility,

discovery and status conferences related thereto, an appellate hearing regarding makewhole issues

in connection with claims filed by EFIH creditors; and a hearing the NextEra Merger Agreement

and NextEra PSA.

                          (fff)   [EFIH] Non-K&E Retention and Fee Applications (Matter No.
                                  72)

                                  Total Fees:  $8,087.00
                                  Total Hours: 12.10

        96.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to the retention of the

disinterested directors’ advisors to advise EFIH on actual conflicts matters at the direction of the

disinterested manager of EFIH.

                          (ggg) [EFIH] Non-Working Travel (Matter No. 73)

                                  Total Fees:  $172,250.00
                                  Total Hours: 206.10

        97.        This Matter Category includes non-working travel time spent by Kirkland

attorneys and paraprofessionals during the Fee Period in connection with their representation of

the EFIH Debtors. The amounts requested in the Fee Application reflect a reduction of one-half of

the charges for travel time not spent working on matters related to these chapter 11 cases.

                          (hhh) [EFIH] Official Committee Issues and Meetings (Matter No.
                                74)

                                  Total Fees:  $10,673.00
                                  Total Hours: 14.40

        98.        This Matter Category includes the services provided by Kirkland attorneys and

paraprofessionals during the Fee Period advising the EFIH Debtors in connection with addressing

issues raised by counsel to the EFH Creditors’ Committee, participating in multiple in-person and


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telephonic diligence sessions with counsel to the EFH Creditors’ Committee, and providing

access to requested diligence and to materials produced through heavily negotiated and Court-

approved discovery protocols.

                         (iii)   [EFIH] Plan/Disclosure Statement (Matter No. 76)

                                 Total Fees:  $4,080,886.50
                                 Total Hours: 4,439.10

        99.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period engaging in discussions with EFIH creditors regarding

discrete plan issues affecting the EFIH Debtors.            Specifically, Kirkland attorneys and

paraprofessionals spent time:

                   i.    negotiating, drafting, and revising the Merger Agreement, EFH Plan
                         Support Agreement, and ancillary agreements;

                ii.      communicating and coordinating with the Debtors and their other advisors
                         regarding consummation of the transactions contemplated by the Plan;

               iii.      negotiating, drafting, and revising the Plan and communicating and
                         coordinating with the Debtors, their other advisors, the disinterested
                         directors, and creditor constituencies;

               iv.       researching, drafting, and revising a motion to approve the Merger
                         Agreement and EFH Plan Support Agreement;

                   v.    negotiating, drafting, and revising the EFH/EFIH Disclosure Statement
                         and related solicitation materials;

               vi.       negotiating, drafting, and filing a motion to establish a schedule for the
                         EFH/EFIH confirmation proceedings and obtaining court approval of the
                         same;

              vii.       negotiating, drafting, and revising the Merger Agreement, NextEra PSA,
                         and ancillary agreements;

              viii.      drafting and revising responses and objections to discovery requests;

               ix.       communicating and coordinating with the EFH/EFIH Debtors and their
                         other advisors regarding consummation of the transactions contemplated
                         by the Plan; and


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                   x.      drafting and filing a response to objections to the Merger Agreement,
                           Termination Fee, and NextEra PSA.

                           (jjj)   [EFIH] Private Letter Ruling/IRS Issues (Matter No. 77)

                                   Total Fees:  $3,653.50
                                   Total Hours: 3.10

        100.       This Matter Category includes time spent by Kirkland attorneys advising the EFIH

Debtors on tax issues relating to the EFIH Second Lien DIP Facility and alternative proposals,

and analyzing the complex tax considerations associated with the EFIH Debtors’ proposed

restructuring with the EFIH Debtors’ creditors.

                           (kkk) [EFIH] Rest. Support Agrmt./Global Sett. (Matter No. 78)

                                   Total Fees:  $45,943.50
                                   Total Hours: 82.30

        101.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period relating to:

                   i.      drafting and revising motions, related declarations, and related orders to
                           approve the EFIH First Lien Makewhole Settlement and the EFIH Second
                           Lien Makewhole Settlement;

                ii.        researching issues related to the EFIH First Lien Makewhole Settlement
                           and the EFIH Second Lien Makewhole Settlement;

               iii.        drafting and revising a proposed amendment to the Oncor tax sharing
                           agreement; and

               iv.         coordinating, and participating in numerous conferences, with the EFIH
                           Debtors, other professionals, counsel to the EFIH first lien creditors, and
                           counsel to the EFIH second lien creditors.




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                           (lll)   [EFH] Asset Disposition and Purchases (Matter No. 82)

                                   Total Fees:  $69,725.00
                                   Total Hours: 102.50

        102.       This Matter Category includes the time spent by Kirkland attorneys during the Fee

Period regarding the disposition and purchases of various EFH assets. Specifically, Kirkland

attorneys spent time:

                   i.      providing services related to a potential sale of assets of EFIH;

                ii.        analyzing an asset purchase agreement and related issues and
                           communicating with the Debtors, its advisors, and the disinterested
                           directors regarding the same;

               iii.        analyzing, drafting, and filing a motion to approve an asset purchase
                           agreement for certain generation assets;

               iv.         addressing matters related to an agreement to exchange certain assets
                           between the Oncor Electric Delivery Company LLC and another public
                           utility; and

                   v.      analyzing, drafting, and preparing a motion to approve the Asset Swap.

                           (mmm)      [EFH] Claims Administration and Objections (Matter
                               No. 85)

                                   Total Fees:  $23,146.00
                                   Total Hours: 47.80

        103.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to the administration and resolution of claims filed

against EFH Corp. Specifically, Kirkland attorneys and paraprofessionals spent time analyzing

and researching issues related to claims against EFH Corp.

                           (nnn) [EFH] Contested Matters & Advers. Pro. (Matter No. 86)

                                   Total Fees:  $119,083.00
                                   Total Hours: 148.60

        104.       This Matter Category includes the limited time spent by Kirkland attorneys during

the Fee Period responding to discovery requests from significant holders of EFH claims,

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reviewing and analyzing potential claims against EFH Corp., corresponding with the Company

regarding the same, and reviewing and revising board presentations regarding the same.

                          (ooo) [EFH] Corp. Governance and Sec. Issues (Matter No. 87)

                                  Total Fees:  $22,192.00
                                  Total Hours: 21.10

        105.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period relating to corporate governance issues involving EFH Corp., including participating in

EFH Corp. board meetings.

                          (ppp) [EFH] EFH Properties (Matter No. 89)

                                  Total Fees:  $507,516.00
                                  Total Hours: 767.70

        106.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period providing services, on behalf of the Debtors, related to certain leases, as well as

researching, drafting, and revising memoranda and presentations regarding EFH Properties

Company.

                          (qqq) [EFH] Hearings (Matter No. 90)

                                  Total Fees:  $8,020.00
                                  Total Hours: 7.00

        107.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period preparing for and attending a hearing regarding the Merger Agreement and NextEra PSA.

                          (rrr)   [EFH] Non-Core Subs/Discontinued Op. (Matter No. 92)

                                  Total Fees:  $1,822.00
                                  Total Hours: 2.00

        108.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period providing services relating to corporate governance issues related to EFH Corp.’s non-core

subsidiaries.

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                          (sss)   [EFH] Non-Debtor Affiliates (Matter No. 93)

                                  Total Fees:  $1,022.00
                                  Total Hours: 1.40

        109.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period providing services, on behalf of the Debtors, related to issues regarding non-Debtor

affiliates. Specifically, Kirkland attorneys spent time corresponding about issues regarding EFH

Vermont Insurance Company.

                          (ttt)   [EFH] Non-K&E Retention & Fee Apps (Matter No. 94)

                                  Total Fees:  $5,991.50
                                  Total Hours: 8.50

        110.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period providing services related to the retention of

disinterested-director advisors to advise EFH on actual conflicts matters at the direction of the

disinterested directors of EFH.

                          (uuu) [EFH] Non-Working Travel (Matter No. 95)

                                  Total Fees:  $7,787.50
                                  Total Hours: 8.30

        111.       This Matter Category includes non-working travel time spent by Kirkland

attorneys and paraprofessionals during the Fee Period in connection with their representation of

the EFH Corp. The amounts requested in the Fee Application reflect a reduction of one-half of the

charges for travel time not spent working on matters related to these chapter 11 cases.




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                          (vvv) [EFH] Official Committee Issues & Meet. (Matter No. 96)

                                 Total Fees:  $118,117.00
                                 Total Hours: 176.30

        112.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period addressing various official Committee issues.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.     communicating with, and addressing issues related to, the potential
                          appointment of a committee to represent the interests of EFH Corp. and
                          the EFIH Debtors;

                ii.       addressing issues relating to the request of certain asbestos plaintiffs for
                          the formation of an asbestos committee; and

               iii.       communicating with the EFH Creditors’ Committee regarding related
                          open issues and discovery requests.

                          (www) [EFH] Retiree and Employee Issues/OPEB (Matter No. 101)

                                 Total Fees:  $34,649.50
                                 Total Hours: 40.30

        113.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period providing services related to various issues related to the Debtors’ retirees and employees

including those at EFH Corporate Services. Specifically, Kirkland attorneys spent time:

                   i.     analyzing, in consultation with the Debtors, certain of the Debtors’ retiree
                          and employee compensation and benefit obligations;

                ii.       drafting, revising, and researching pleadings and supporting declarations
                          relating to non-qualified benefits, non-insider compensation, and insider
                          compensation;

               iii.       advising the Debtors in connection with separating their 401(k) plan;

               iv.        assisting the Debtors in negotiations with interested parties regarding the
                          relief described above;

                   v.     providing diligence related to the relief described above to numerous
                          creditor constituencies; and



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               vi.        providing ongoing advice to the EFH Debtors regarding compensation
                          matters.

                          (xxx) [ALL] Venue (Matter No. 106)

                                  Total Fees:  $369,123.00
                                  Total Hours: 526.10

        114.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period related to challenges to the Debtors’ choice of venue.

Specifically, Kirkland attorneys and paraprofessionals spent time:

                   i.     researching and drafting pleadings in opposition to a change of venue;

                ii.       identifying, collecting, and processing volumes of documents for review
                          and potential production; then analyzing and reviewing potentially
                          responsive documents that culminated in the production of approximately
                          50 documents and 460 pages of documents regarding the venue dispute;

               iii.       preparing witnesses for four depositions and testimony in connection with
                          the venue dispute; and

               iv.        preparing, and coordinating the logistics for, the venue hearing.

                          (yyy) [ALL] Invoice Review (Matter No. 107)

                                  Total Fees:  $139,628.00
                                  Total Hours: 274.00

        115.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period reviewing K&E invoices for services rendered during these chapter 11 cases.

                          (zzz)   [TCEH] Exec. Contracts & Unexpired Leases (Matter No. 108)

                                  Total Fees:  $2,758,208.00
                                  Total Hours: 4,301.60

        116.       This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period examining issues relating to the TCEH Debtors’

executory contracts and unexpired leases. Specifically, Kirkland attorneys and paraprofessionals

spent time:


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                   i.     researching and analyzing the TCEH Debtors’ obligations under various
                          executory contracts and leases;

                 ii.      drafting, reviewing, and revising motions, discovery responses and
                          requests, and related documents with respect to rejecting, assuming, or
                          assigning such contracts and leases;

                iii.      preparing for and participating in meetings and client interviews regarding
                          the Alcoa litigation;

                iv.       reviewing and evaluating production documents regarding privilege and
                          responsiveness and drafting and revising discovery responses and
                          objections in preparation of the same;

                   v.     negotiating, documenting, and securing court approval of a settlement
                          resolving the same;

                vi.       drafting, reviewing, and revising contract assumption stipulations and
                          amendments;

               vii.       communicating with the Debtors and their advisors regarding contract
                          assumption and rejection issues; and

               viii.      drafting various stipulations to extend the period to assume or reject leases
                          of nonresidential property.

                          (aaaa) [ALL] Enforcement of TTI Rights (Matter No. 113)

                                 Total Fees:  $1,789,567.00
                                 Total Hours: 2,642.60

        117.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period reviewing and analyzing potential litigation required under the Merger Agreement as part

of the Merger Transaction. Specifically, Kirkland attorneys spent time:

                   i.     reviewing EFH and TTI governing documents (e.g., Investor Rights
                          Agreement);

                 ii.      engaging in discussions with various parties to the Plan Support
                          Agreement and Merger and Purchase Agreement regarding discussions
                          with TTI related to EFH’s “drag-along rights” associated with the sale of
                          Oncor;

                iii.      drafting pleadings related to the potential enforcement of EFH’s “drag
                          along rights”;


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               iv.      securing denial of a motion to dismiss the adversary case;

                   v.   compiling discovery requests and responses in preparation for trial;

               vi.      evaluating regulatory considerations related to, among other things,
                        potential EFH enforcement actions;

              vii.      identifying, collecting, and processing documents from the Debtors for
                        review and potential production;

             viii.      coordinating document review processes internally and with third-party
                        database vendor to ensure an efficient document review process;

               ix.      analyzing and reviewing over 40,000 potentially responsive documents,
                        culminating in the production of over 7,300 documents and over 191,000
                        pages, and preparing a privilege log and conferencing with the Debtors,
                        their advisors, and certain parties-in-interest regarding the same;

                   x.   fact investigation, including document review, in preparation for
                        depositions, motions for summary judgment, and trial;

               xi.      preparing for, taking, and defending depositions of nine fact and expert
                        witnesses;

              xii.      drafting, revising, and filing a motion for summary judgment and other
                        pleadings;

             xiii.      preparing for and participating in oral argument on the parties’ cross
                        motions for summary judgment and TTI’s motion for a determination that
                        the court lacks authority to enter a final judgment;

             xiv.       preparing for trial;

              xv.       reviewing and analyzing Hunt Merger Agreement documentation
                        regarding the drag-along rights; and

             xvi.       corresponding with various K&E working groups and the Debtors
                        regarding the same.




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                           (bbbb) [ALL] Drag Along Rights (Matter No. 114)

                                  Total Fees:  $30,545.50
                                  Total Hours: 31.60

        118.        This Matter Category includes time spent by Kirkland attorneys and

paraprofessionals during the Fee Period analyzing drag along rights related to the proposed sale of

the interests in EFH and EFIH, including drafting and revising a sale notice for the proposed sale.

                           (cccc) [TCEH] Exit Financing (Matter No. 115)

                                  Total Fees:  $3,543,064.00
                                  Total Hours: 3,924.40

        119.        This Matter Category includes time spent by Kirkland attorneys during the Fee

Period examining issues related to the TCEH Debtors’ exit financing. Specifically, Kirkland

attorneys and paraprofessionals spent time:

                   i.      researching and reviewing various exit financing issues, including the exit
                           financing bid process and exit financing commitments and obligations;

                ii.        drafting, reviewing, and revising a term sheet for a potential exit financing
                           facility;

               iii.        drafting and analyzing various exit financing issues, including exit
                           financing commitments and obligations;

               iv.         corresponding with the Company, its financial advisor, and opposing
                           counsel regarding the same;

                   v.      analyzing, drafting, and executing credit agreement schedules, including
                           various ancillary documents and security documents regarding TCEH exit
                           financing; and

               vi.         obtaining court approval to enter into an exit financing facility.




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                           (dddd) [ALL E-SIDE] Tax Calculations (Matter No. 124)

                                  Total Fees:  $3,744.00
                                  Total Hours: 3.60

        120.       This Matter Category includes time spent by Kirkland attorneys during the Fee

Period in connection with certain tax calculations related to the consummation of the Sempra

Merger Agreement.

                        Actual and Necessary Expenses Incurred by Kirkland

        121.       As summarized in Exhibit F attached hereto, Kirkland has incurred a total of

$10,433,832.69 in expenses on behalf of the Debtors during the Fee Period. These charges are

intended to reimburse Kirkland’s direct operating costs, which are not incorporated into the

Kirkland hourly billing rates. Kirkland charges external copying and computer research at the

provider’s cost without markup. Only clients who actually use services of the types set forth in

Exhibit F of this Fee Application are separately charged for such services.            The effect of

including such expenses as part of the hourly billing rates would be to impose that cost upon

clients who do not require extensive photocopying and other facilities and services.

                      Reasonable and Necessary Services Provided by Kirkland

A.       Reasonable and Necessary Fees Incurred in Providing Services to the Debtors.

        122.       The foregoing professional services provided by Kirkland on behalf of the Debtors

during the Fee Period were reasonable, necessary, and appropriate to the administration of these

chapter 11 cases and related matters.

        123.       Many of the services performed by partners and associates of Kirkland were

provided by Kirkland’s Restructuring Group. Kirkland has a prominent practice in this area and

enjoys a national and international reputation for its expertise in financial reorganizations and

restructurings of troubled companies, with more than 100 attorneys focusing on this area of the


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law. The attorneys at Kirkland have represented either the debtor or a creditors’ committee or

have acted as special counsel in many large chapter 11 cases.

        124.       In addition, due to the facts and circumstances of these chapter 11 cases, attorneys

from Kirkland’s Litigation, Corporate, and Tax Groups were heavily involved with Kirkland’s

representation of the Debtors during the Fee Period. These practice groups also enjoy a national

and international reputation for their expertise. Overall, Kirkland brings to these chapter 11 cases

a particularly high level of skill and knowledge, which inured to the benefit of the Debtors and all

stakeholders.

B.       Reasonable and Necessary Expenses Incurred in Providing Services to the Debtors.

        125.       The time constraints imposed by the circumstances of these chapter 11 cases

required Kirkland attorneys and other employees to devote substantial time during the evenings

and on weekends to perform services on behalf of the Debtors. These services were essential to

meet deadlines, respond to daily inquiries from various creditors and other parties-in-interest on a

timely basis, satisfy the demands of the Debtors’ businesses, and ensure the orderly

administration of their estates. Consistent with firm policy and the Fee Committee Guidelines,

and as further disclosed in the Retention Application, Kirkland attorneys and other Kirkland

employees who worked late in the evenings or on weekends were reimbursed for their reasonable

meal and transportation costs. Kirkland’s regular practice is not to include components for those

charges in overhead when establishing billing rates, but rather to charge its clients for these and

all other out-of-pocket disbursements incurred during the regular course of the rendition of legal

services.

        126.       In addition, due to the location of the Debtors’ businesses, co-counsel, creditors,

and other parties-in-interest in relation to Kirkland’s offices, frequent multi-party telephone

conferences involving numerous parties were required. On many occasions, the exigencies and
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circumstances of these chapter 11 cases required overnight delivery of documents and other

materials. The disbursements for such services are not included in Kirkland’s overhead for the

purpose of setting billing rates, and Kirkland has made every effort to minimize its disbursements

in these chapter 11 cases. The actual expenses incurred in providing professional services were

necessary, reasonable, and justified under the circumstances to serve the needs of the Debtors in

these chapter 11 cases.

        127.       Among other things, Kirkland makes sure that all overtime meals, travel meals,

hotel rates, and airfares are reasonable and appropriate expenses for which to seek reimbursement.

Specifically, Kirkland regularly reviews its bills to ensure that the Debtors are billed for only

services that were actual and necessary, and also, where appropriate, prorates expenses across the

Debtors’ estates. In accordance with the Retention Order, Kirkland does not seek reimbursement

of expenses for office supplies pursuant to this Fee Application. In addition, Kirkland has waived

certain fees and reduced certain expenses to comply with the Fee Committee Guidelines.

Kirkland will not seek reimbursement of expenses related to, among other things, in-office and

out-of-office meals in excess of that allowed under the Fee Committee Guidelines and local travel

expenses for those Kirkland employees who work on weekends or late in the evenings that do not

meet the Fee Committee Guidelines.               In the Monthly Fee Statements, Kirkland voluntarily

reduced its fees by $5,498,070.00 and its expenses by $986,448.56. Following negotiations with

the Fee Committee, Kirkland has agreed to additional fee reductions of $5,447,204.80 and

expense reductions of $863,347.41.14 Consequently, in this Fee Application Kirkland does not

seek payment of either those fees and expenses voluntarily reduced in the Interim Fee

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     The figures in this sentence do not include reductions, if any, resulting from discussions with the Fee
     Committee in relation to the Eleventh Interim Fee Application or the Twelfth Interim Fee Application.
     Negotiations with respect to both the Eleventh Interim Fee Application and Twelfth Interim Fee Application are
     ongoing as of the date hereof.


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Applications, or those fees and expenses reduced as a result of negotiations with the Fee

Committee.

         Kirkland’s Requested Compensation and Reimbursement Should be Allowed

        128.       Section 331 of the Bankruptcy Code provides for interim compensation of

professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code to

govern the Court’s award of such compensation. Section 330 of the Bankruptcy Code provides

that a court may award a professional employed under section 327 of the Bankruptcy Code

“reasonable compensation for actual necessary services rendered . . . and reimbursement for

actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the

award of such compensation and reimbursement:

         In determining the amount of reasonable compensation to be awarded, the court
         should consider the nature, extent, and the value of such services, taking into
         account all relevant factors, including—

                   (a)     the time spent on such services;
                   (b)     the rates charged for such services;
                   (c)     whether the services were necessary to the administration
                           of, or beneficial at the time at which the service was
                           rendered toward the completion of, a case under this title;
                   (d)     whether the services were performed within a reasonable
                           amount of time commensurate with the complexity,
                           importance, and nature of the problem, issue, or task
                           addressed; and
                   (e)     whether the compensation is reasonable based on the
                           customary compensation charged by comparably skilled
                           practitioners in cases other than cases under this title.
11 U.S.C. § 330(a)(3).

        129.       Kirkland respectfully submits that the services for which it seeks compensation in

this Fee Application were, at the time rendered, necessary for and beneficial to the Debtors and

their estates and were rendered to protect and preserve the Debtors’ estates. Kirkland further

believes that it performed the services for the Debtors economically, effectively, and efficiently,
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and that the results obtained benefited not only the Debtors, but also the Debtors’ estates and the

Debtors’ stakeholders.         Kirkland further submits that the compensation requested herein is

reasonable in light of the nature, extent, and value of such services to the Debtors, their estates,

and all parties-in-interest.

         130.       During the Fee Period, Kirkland’s hourly billing rates for attorneys ranged from

$320.00 to $1,745.00. The hourly rates and corresponding rate structure utilized by Kirkland in

these chapter 11 cases are equivalent to the hourly rates and corresponding rate structure used by

Kirkland for restructuring, workout, bankruptcy, insolvency, and comparable matters, and similar

complex corporate, securities, and litigation matters, whether in court or otherwise, regardless of

whether a fee application is required. Kirkland strives to be efficient in the staffing of matters.

These rates and the rate structure reflect that such matters are typically national in scope and

involve great complexity, high stakes, and severe time pressures—all of which were present in

these chapter 11 cases.

         131.       Moreover, Kirkland’s hourly rates are set at a level designed to compensate

Kirkland fairly for the work of its attorneys and paraprofessionals and to cover certain fixed and

routine overhead expenses. Hourly rates vary with the experience and seniority of the individuals

assigned. These hourly rates are subject to periodic adjustments to reflect economic and other

conditions and are consistent with the rates charged elsewhere.

         132.       In sum, Kirkland respectfully submits that the professional services provided by

Kirkland on behalf of the Debtors and their estates during these chapter 11 cases were necessary

and appropriate given the complexity of these chapter 11 cases, the time expended by Kirkland,

the nature and extent of Kirkland’s services provided, the value of Kirkland’s services, and the

cost of comparable services outside of bankruptcy, all of which are relevant factors set forth in


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section 330 of the Bankruptcy Code. Accordingly, Kirkland respectfully submits that approval of

the compensation sought herein is warranted and should be approved.

        133.       No previous application for the relief sought herein has been made to this or any

other Court.

                                    Reservation of Rights and Notice

        134.       It is possible that some professional time expended or expenses incurred during the

Fee Period are not reflected in the Fee Application. Kirkland reserves the right to include such

amounts in addendums to this Fee Application. In addition, the Debtors have provided notice of

this Fee Application to: (a) the U.S. Trustee; (b) counsel to the TCEH Creditors’ Committee;

(c) counsel to the EFH Creditors’ Committee; (d) Wilmington Trust, N.A., in its capacity as

administrative agent under the TCEH first lien credit agreement and collateral agent under the

TCEH intercreditor agreements and counsel thereto; (e) Bank of New York Mellon Trust

Company, N.A., in its capacity as indenture trustee under: (i) the TCEH unsecured pollution

control revenue bonds; and (ii) the EFCH 2037 Notes due 2037, and counsel thereto;

(f) American Stock Transfer & Trust Company, LLC, in its capacity as indenture trustee under:

(i) the 9.75% EFH senior unsecured notes due 2019; (ii) the 10.0% EFH senior unsecured notes

due 2020; (iii) the 10.875% EFH LBO senior unsecured notes due 2017; (iv) the 11.25%/12.0%

EFH LBO toggle notes due 2017; (v) the 5.55% EFH legacy notes (series P) due 2014; (vi) the

6.50% EFH legacy notes (series Q) due 2024; and (vii) the 6.55% EFH legacy notes (series R)

due 2034, and counsel thereto; (g) Computershare Trust Company, N.A. and Computershare

Trust Company of Canada, in their capacities as indenture trustee under: (i) the 11.0% EFIH

senior secured second lien notes due 2021; and (ii) the 11.75% EFIH senior secured second lien

notes due 2022, and counsel thereto; (h) UMB Bank, N.A. in its capacity as indenture trustee

under: (i) the 9.75% EFIH senior unsecured notes due 2019; and (ii) the 11.25%/12.25% EFIH
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senior toggle notes due 2018, and counsel thereto; (i) Delaware Trust Company of Delaware in its

capacity as indenture trustee under: (i) the 6.875% EFIH senior secured notes due 2017; (ii) the

10.0% EFIH senior secured notes due 2020; and (iii), the 11.50% TCEH senior secured notes due

2020, and counsel thereto; (j) Law Debenture Trust Company of New York in its capacity as

indenture trustee under: (i) the 10.25% TCEH senior unsecured notes due 2015; and (ii) the

10.50%/11.25% TCEH senior toggle notes due 2016, and counsel thereto; (k) Wilmington

Savings Fund Society, FSB in its capacity as indenture trustee under the 15.0% TCEH senior

secured second lien notes due 2021, and counsel thereto; (l) counsel to certain holders of claims

against the Debtors regarding each of the foregoing described in clauses (c) through (j); (m) the

agent for the TCEH debtor-in-possession financing facility and counsel thereto; (n) the agent for

the EFIH debtor-in-possession financing facility and counsel thereto; (o) counsel to certain

holders of equity in Texas Energy Future Holdings Limited Partnership; (p) counsel to the Ad

Hoc Committee of TCEH Unsecured Noteholders; (q) counsel to the Ad Hoc Committee of

TCEH Second Lien Noteholders; (r) Oncor Electric Delivery Holdings Company LLC and

counsel thereto; (s) Oncor Electric Delivery Company LLC and counsel thereto; (t) the Securities

and Exchange Commission; (u) the Internal Revenue Service; (v) the Office of the United States

Attorney for the District of Delaware; (w) the Office of the Texas Attorney General on behalf of

the Public Utility Commission of Texas; (x) counsel to the Electric Reliability Council of Texas;

(y) the Fee Committee; and (z) those parties that have requested notice pursuant to Bankruptcy

Rule 2002 (the “Notice Parties”). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

        135.       Pursuant to the Interim Compensation Order and the Fee Committee Order, any

Notice Party (other than the Fee Committee) that wishes to object to the Fee Application must file


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its objection with the Court, with a copy to Chambers and serve it on Kirkland and the Notice

Parties so that it is actually received on or before May 15, 2018 at 4:00 p.m. (Eastern Daylight

Time).

                                            No Prior Request

         136.      No prior application for the relief requested herein has been made to this or any

other court.

                               [Remainder of page intentionally left blank.]




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         WHEREFORE, Kirkland respectfully requests that the Court enter an order (a) awarding

Kirkland final compensation for professional and paraprofessional services provided during the

Fee Period in the amount of $172,805,511.20, and reimbursement of actual, reasonable, and

necessary expenses incurred in the Fee Period in the amount of $10,433,832.69; (b) authorizing

and directing the Debtors to remit payment to Kirkland for such fees and expenses to the extent

not paid as of the date of entry of such order; and (c) granting such other relief as is appropriate

under the circumstances.

Dated: April 23, 2018
       Chicago, Illinois                     /s/ Chad J. Husnick
                                         KIRKLAND & ELLIS LLP
                                         KIRKLAND & ELLIS INTERNATIONAL LLP
                                         Edward O. Sassower, P.C. (admitted pro hac vice)
                                         Stephen E. Hessler, P.C. (admitted pro hac vice)
                                         Brian E. Schartz, P.C. (admitted pro hac vice)
                                         Aparna Yenamandra (admitted pro hac vice)
                                         601 Lexington Avenue
                                         New York, New York 10022-4611
                                         Telephone:       (212) 446-4800
                                         Facsimile:       (212) 446-4900
                                         Email:           edward.sassower@kirkland.com
                                                          stephen.hessler@kirkland.com
                                                          brian.schartz@kirkland.com
                                                          aparna.yenamandra@kirkland.com
                                         -and-

                                         James H.M. Sprayregen, P.C. (admitted pro hac vice)
                                         Marc Kieselstein, P.C. (admitted pro hac vice)
                                         Chad J. Husnick, P.C. (admitted pro hac vice)
                                         Steven N. Serajeddini (admitted pro hac vice)
                                         300 North LaSalle
                                         Chicago, Illinois 60654
                                         Telephone:       (312) 862-2000
                                         Facsimile:       (312) 862-2200
                                         Email:           james.sprayregen@kirkland.com
                                                          marc.kieselstein@kirkland.com
                                                          chad.husnick@kirkland.com
                                                          steven.serajeddini@kirkland.com

                                         Co-Counsel to the Reorganized TCEH Debtors, Reorganized EFH
                                         Shared Services Debtors, and the EFH Plan Administrator Board




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